Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 1 of 102

               2023-22748 / Court: 215




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                                    CAUSE NO. 2023-22748


GALLERIA 2425 OWNER LLC            §                               IN THE DISTRICT COURT
                                   §
                                   §
       Plaintiff,                  §




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                                                                           ler
                                   §
v.                                 §                               HARRIS COUNTY, TEXAS




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                                   §
NATIONAL BANK OF KUWAIT, S.A.K.P., §




                                                                 ist
NEW YORK BRANCH                    §




                                                              sD
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                                                           es
      Defendant.                   §                            _215th _ JUDICIAL DISTRICT



                                                        rg
                                   NOTICE OF HEARINGBu
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       You are hereby notified that a hearing on Plaitniff’s Emergency Application for Temporary
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Restraining Order has been set for the following date, time and location.
                                      of




       Date:          Tuesday, April 11, 2023
                                   e




       Time:          2:30 p.m.
                               ffic




                      Harris County Ancillary Court (IN PERSON), 190th Judicial District Court,
                            O




       Location:
                      12th Floor, 201 Caroline, Houston, Texas, 77002
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                       op
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                                                            Respectfully submitted,
                   ial




                                                            /s/ James Q. Pope
               fic




                                                            James Q. Pope
         of




                                                            TBN: 24048738
       Un




                                                            The Pope Law Firm
                                                            6161 Savoy Drive
                                                            Suite 1125
                                                            Houston, Texas 77036
                                                            Phone: 713-449-4481
                                                            Fax: 281-657-9693
                                                            jamesp@thepopelawfirm.com

                                                                                           Page 1 of 2
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 12 of 102




                                   CERTIFICATE OF SERVICE
       I hereby certify that on April 11, 2023 a true and correct copy of the foregoing document
was served on interested parties by facsimile transmittal:

       NBK




                                                                            k
                                                                         ler
       NATIONAL BANK OF KUWAIT, S.A.K.P., New York Branch
       Fax: 212-319-8269




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                                                                  ric
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                                                           /s/ James Q. Pope




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                                                           James Q. Pope




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certificate of service that complies with all applicable rules.

James Pope on behalf of James Pope
Bar No. 24048738
ecf@thepopelawfirm.com




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Envelope ID: 74526562
Filing Code Description: Notice




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Filing Description: Notice of Hearing
Status as of 4/11/2023 1:50 PM CST




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Case Contacts




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Name         BarNumber   Email                       TimestampSubmitted     Status




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James Pope               jamesp@thepopelawfirm.com   4/11/2023 1:37:37 PM   SENT



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                                                                                                           By: Bonnie Lugo
                                                                                                  Filed: 5/8/2023 2:25 PM

                                    CAUSE NO. 2023-22748

GALLERIA 2425 OWNER, LLC,                    §              IN THE DISTRICT COURT OF
                                             §
       Plaintiff,                            §
                                             §
v.                                           §              HARRIS COUNTY, TEXAS




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                                             §
NATIONAL BANK OF KUWAIT,                     §




                                                                        tC
S.A.K.P., NEW YORK BRANCH, A                 §




                                                                    ric
BANKING CORPORATION                          §




                                                                 ist
ORGANIZED UNDER THE LAWS                     §
OF KUWAIT, ACTING THROUGH                    §




                                                              sD
ITS NEW YORK BRANCH                          §




                                                           es
                                             §
       Defendant.                            §              281ST JUDICIAL DISTRICT


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                           NATIONAL BANK OF KUWAIT’S
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                    ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES
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       National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”), by and through its
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attorneys of record in the above-styled cause, files their Original Answer and Affirmative Defenses
                                  ffic




to Plaintiff Galleria 2425 Owner LLC’s (“Plaintiff”) Original Petition, Emergency Application for
                          y O




Temporary Restraining Order and Jury Demand:
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                                    I.     GENERAL DENIAL
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       1.      NBK asserts a general denial as authorized by Rule 92 of the Texas Rules of Civil
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Procedure and respectfully requests the Court and Jury require Plaintiff to prove its claims,
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charges, and allegations by a preponderance of the evidence as required by the Constitution and

the Laws of the State of Texas.




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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 16 of 102




                                       II.    AFFIRMATIVE DEFENSES

          2.    In addition to the general denial asserted by NBK, NBK further asserts the

following affirmative defenses to Plaintiff’s claims:

          3.    Plaintiff has not suffered any damages.




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          4.    Plaintiff’s claims are barred, in whole or in part, because of a failure to plead its




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claims with requisite particularity.




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          5.    Plaintiff’s claims have no basis in law or fact and have been asserted in bad faith.




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          6.    Plaintiff fails to state a claim on which relief can be granted.




                                                              es
          7.    NBK would further show, in the alternative, that Plaintiff’s own acts or omissions



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caused or contributed to Plaintiff’s alleged injury.
                                                        Bu
          8.    NBK would further show, in the alternative, that Plaintiff’s claims are barred
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against NBK because none of the acts alleged to have been committed by NBK were the proximate
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cause of Plaintiff’s alleged damages.
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          9.    NBK would further show, in the alternative, that Plaintiff’s damages, if any, were
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the result of acts and/or instrumentalities beyond NBK’s control.
                              O




          10.   NBK would further show, in the alternative, that the occurrence complained of was
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caused by the conduct of a person or entity over whom NBK had no control or right of control and
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for whose conduct NBK is not responsible or liable.
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          11.   NBK would further show, in the alternative, that Plaintiff failed to mitigate its
            of




damages as required under applicable law.
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          12.   NBK further pleads, in the alternative, the affirmative defense of prior material

breach.

          13.   NBK further pleads, in the alternative, the affirmative defense of unclean hands.



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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 17 of 102




        14.     NBK further pleads, in the alternative, the affirmative defense of unconscionability.

        15.     NBK further pleads, in the alternative, the affirmative defense of ratification.

        16.     NBK further pleads, in the alternative, the affirmative defense of estoppel.

        17.     NBK further pleads, in the alternative, that its actions were justified.




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        18.     NBK further pleads, in the alternative, the affirmative defense of fraud.




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                                         III.    ATTORNEY’S FEES




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        19.     NBK has been forced to incur attorney’s fees to investigate and defend Plaintiff’s




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claims that have no basis in fact or law. NBK is entitled to an award of its attorney’s fees pursuant




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to Chapters 9 and 10 of the Texas Civil Practice and Remedies Code, and Rule 13 of the Texas



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Rules of Civil Procedure.
                                                       Bu
        20.     Pursuant to Rule 54 of the Texas Rules of Civil Procedure, NBK alleges that all
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conditions precedent to its request for attorney’s fees have been performed or have occurred.
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                                                PRAYER
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        WHEREFORE, PREMISES CONSIDERED, National Bank of Kuwait prays the Court to
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dismiss all of Plaintiff’s claims against it with prejudice, deny all relief sought by Plaintiff against
                           y  O




National Bank of Kuwait, award National Bank of Kuwait its attorney’s fees and costs of this suit,
                        op




and award National Bank of Kuwait such other and further relief to which it may be justly entitled.
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                                                Respectfully submitted,
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                                                PILLSBURY WINTHROP SHAW PITTMAN LLP
          of
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                                                By:     /s/ Charles C. Conrad
                                                        Charles C. Conrad
                                                        State Bar No. 24040721
                                                        Elizabeth Klingensmith
                                                        State Bar No. 24046496




                                                   3
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 18 of 102




                                                    Ryan Steinbrunner
                                                    State Bar No. 24093201
                                                    909 Fannin, Suite 2000
                                                    Houston, Texas 77010-1018
                                                    Telephone: (713) 276-7600
                                                    Facsimile: (281) 276-7634
                                                    charles.conrad@pillsburylaw.com




                                                                              k
                                                                           ler
                                                    liz.klingensmith@pillsburylaw.com
                                                    ryan.steinbrunner@pillsburylaw.com




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                                                    Attorneys for Defendant National Bank of
                                                    Kuwait, S.A.K.P., New York Branch




                                                                 ist
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                                CERTIFICATE OF SERVICE




                                                          es
        I hereby certify that on May 8, 2023, a true copy of the foregoing was served on counsel


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of record for all parties in accordance with the Texas Rules of Civil Procedure.
                                                    Bu
                                                    n
James Q. Pope
                                              ily

The Pope Law Firm
6161 Savoy Drive, Suite 1125
                                            ar



Houston, TX 77036
                                        M




jamesp@thepopelawfirm.com
                                      of




Counsel for Plaintiff Galleria 2425 Owner, LLC
                                   e
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                                                 /s/ Charles C. Conrad
                            O




                                                 Charles C. Conrad
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Nancy Jones on behalf of Charles Conrad
Bar No. 24040721
nancy.jones@pillsburylaw.com




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Envelope ID: 75414824
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Case Contacts




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Name                BarNumber   Email                                TimestampSubmitted Status




                                                               es
Ryan Steinbrunner               ryan.steinbrunner@pillsburylaw.com 5/8/2023 2:25:47 PM     SENT



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James Pope                      jamesp@thepopelawfirm.com            5/8/2023 2:25:47 PM   SENT

Charles Conrad
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                                charles.conrad@pillsburylaw.com      5/8/2023 2:25:47 PM   SENT
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Nancy Jones                     nancy.jones@pillsburylaw.com         5/8/2023 2:25:47 PM   SENT
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Angela McGinnis                 angela.mcginnis@pillsburylaw.com     5/8/2023 2:25:47 PM   SENT
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                                     CAUSE NO. 2023-22748

GALLERIA 2425 OWNER LLC,                        §      IN THE DISTRICT COURT OF
                                                §
        Plaintiff,                              §
                                                §
v.                                              §      HARRIS COUNTY, TEXAS
                                                §




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NATIONAL BANK OF KUWAIT,                        §
S.A.K.P., NEW YORK BRANCH,                      §




                                                                        tC
                                                §
                                                       281ST JUDICIAL DISTRICT




                                                                    ric
        Defendants.                             §




                                                                 ist
      NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL FOR PLAINTIFF




                                                              sD
        Plaintiff Galleria 2425 Owner LLC files this Notice of Appearance of Additional




                                                           es
Counsel. Robin L. Harrison, a member of the bar of this Court in good standing and a member


                                                        rg
                                                    Bu
of the law firm Hicks Thomas LLP, hereby appears as additional counsel for Plaintiff. Contact
                                                    n
information for Mr. Harrison is as follows:
                                               ily
                                              ar



                               Robin L. Harrison
                                           M




                               HICKS THOMAS LLP
                               700 Louisiana Street, Suite 2300
                                       of




                               Houston, Texas 77002
                                     e




                               Telephone: 713-547-9100
                                 ffic




                               Facsimile: 713-547-9150
                               rharrison@hicks-thomas.com
                           y O




        Plaintiff Galleria 2425 Owner LLC respectfully requests that the Court and all parties
                        op
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include Mr. Harrison on any future notices and copies of pleadings, papers, correspondence, and
                     ial




other materials relevant to this matter.
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{00341694.DOCX}
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 21 of 102




                                            Respectfully submitted,

                                            By: /s/ Robin L. Harrison
                                                Robin L. Harrison
                                                State Bar No. 09120700
                                                HICKS THOMAS LLP
                                                700 Louisiana Street, Suite 2300
                                                Houston, Texas 77002




                                                                             k
                                                                          ler
                                                (713) 547-9100 - Telephone
                                                (713) 547-9150 - Telecopier




                                                                       tC
                                                Email: rharrison@hicks-thomas.com




                                                                   ric
                                            ATTORNEYS FOR PLAINTIFF




                                                                ist
                                            GALLERIA 2425 OWNER LLC




                                                             sD
                                                          es
                               CERTIFICATE OF SERVICE


                                                       rg
                                                   Bu
      I certify that all counsel of record who have appeared in this case are being served with a
copy of the foregoing on the 11th day of May 2023, pursuant to the Texas Rules of Civil
                                                   n
Procedure.
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                                            /s/ Robin L. Harrison
                                            Robin L. Harrison
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Jackie Marlowe on behalf of Robin Harrison
Bar No. 9120700
jmarlowe@hicks-thomas.com




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Envelope ID: 75566682
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Filing Description: Notice of Appearance - Robin Harrison - Galleria 2425
Owner




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Status as of 5/12/2023 8:26 AM CST




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Case Contacts




                                                               es
Name                BarNumber   Email                                TimestampSubmitted Status




                                                          rg
James Pope                      jamesp@thepopelawfirm.com            5/11/2023 5:43:14 PM   SENT

Charles Conrad                                        Bu
                                charles.conrad@pillsburylaw.com      5/11/2023 5:43:14 PM   SENT
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Nancy Jones                     nancy.jones@pillsburylaw.com         5/11/2023 5:43:14 PM   SENT
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Ryan Steinbrunner               ryan.steinbrunner@pillsburylaw.com 5/11/2023 5:43:14 PM     SENT
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Angela McGinnis                 angela.mcginnis@pillsburylaw.com     5/11/2023 5:43:14 PM   SENT
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Robin Harrison                  rharrison@hicks-thomas.com           5/11/2023 5:43:14 PM   SENT
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Jackie Marlowe                  jmarlowe@hicks-thomas.com            5/11/2023 5:43:14 PM   SENT
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                                                                                                    By: DANIELLE JIMENEZ
                                                                                                    Filed: 5/22/2023 5:50 PM

                                       CAUSE NO. 2023-22748

GALLERIA 2425 OWNER LLC,                            §      IN THE DISTRICT COURT OF
                                                    §
        Plaintiff,                                  §
                                                    §
v.                                                  §      HARRIS COUNTY, TEXAS
                                                    §




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NATIONAL BANK OF KUWAIT,                            §
S.A.K.P., NEW YORK BRANCH,                          §




                                                                            tC
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                                                           281ST JUDICIAL DISTRICT




                                                                        ric
        Defendant.                                  §




                                                                     ist
                   PLAINTIFF’S MOTION FOR EXPEDITED DISCOVERY




                                                                  sD
        Plaintiff Galleria 2425 Owner LLC (“Plaintiff”) files this Motion for Expedited




                                                               es
Discovery and respectfully shows the Court as follows:


                                                            rg
        1.                                              Bu
                  The Court is familiar with the facts relevant to this case and this motion. In brief,
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Plaintiff has filed suit against Defendant National Bank of Kuwait, S.A.K.P., New York Branch,
                                               ar



for breach of contract for improperly disclosing the terms of the parties’ confidential settlement
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agreement to third parties in violation of the agreement’s confidentiality provisions. Plaintiff
                                         of
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reasonably believes that Defendant’s breach has interfered with Plaintiff’s efforts to perform its
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obligations under the settlement agreement.
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        2.        Plaintiff has alleged a cause of action for breach of contract and seeks injunctive
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relief and damages.
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        3.        When Plaintiff became aware of Defendant’s recent communications with third
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parties, Plaintiff’s counsel conferred with Defendant’s counsel concerning limited, expedited
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document discovery concerning Defendant’s third party contacts. On Friday, May 12, 2023,

Plaintiff provided Plaintiff’s counsel a list of four categories of documents that they seek. See




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       Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 24 of 102




Exhibit A, attached hereto.1 On Wednesday, May 17, 2023, Defendant’s counsel responded that

it is opposed to any expedited discovery.

         4.       Time is of the essence with respect to the discovery that Plaintiff seeks as, again,

the Court is aware. Therefore, Plaintiff requests and Order granting this motion for expedited




                                                                                            k
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discovery and, further, ordering Defendant to produce the documents described in the list of four




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categories provided by Plaintiff’s counsel to Defendant’s counsel no later than Friday, June 2,




                                                                                  ric
2023, and providing for such other relief to which Plaintiff may be entitled.




                                                                               ist
                                                                            sD
                                                       Respectfully submitted,




                                                                        es
                                                       By: /s/ Robin L. Harrison
                                                           Robin L. Harrison


                                                                    rg
                                                           State Bar No. 09120700
                                                                 Bu
                                                           HICKS THOMAS LLP
                                                           700 Louisiana Street, Suite 2300
                                                               n
                                                           Houston, Texas 77002
                                                         ily

                                                           (713) 547-9100 - Telephone
                                                      ar



                                                           (713) 547-9150 - Telecopier
                                                 M




                                                           Email: rharrison@hicks-thomas.com
                                              of




                                                               James Q. Pope
                                           e




                                                               State Bar No. 24048738
                                      ffic




                                                               The Pope Law Firm
                                                               6161 Savoy Drive, Suite 1125
                                  O




                                                               Houston, Texas 77036
                               y




                                                               713-449-4481 - Telephone
                            op




                                                               281-657-9693 - Telecopier
                                                               Email: jamesp@thepopelawfirm.com
                        C
                     ial




                                                       ATTORNEYS FOR PLAINTIFF
                  fic




                                                       GALLERIA 2425 OWNER LLC
           of
         Un




1
  The list of four requests for production is not included in Exhibit A because of confidentiality, but will be provided
to the Court in camera.



{00342351.DOCX}                                            2
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 25 of 102




                            CERTIFICATE OF CONFERENCE

       I have conferred with counsel for the Defendant concerning the relief requested by this
motion and am advised that Defendant opposes this request.




                                                                             k
                                                                          ler
                                            /s/ Robin L. Harrison
                                            Robin L. Harrison




                                                                       tC
                                                                   ric
                                                                ist
                                                             sD
                                CERTIFICATE OF SERVICE




                                                          es
      I certify that all counsel of record who have appeared in this case are being served with a
copy of the foregoing on the 22nd day of May 2023, pursuant to the Texas Rules of Civil


                                                       rg
Procedure.
                                                    Bu
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                                            /s/ Robin L. Harrison
                                              ily

                                            Robin L. Harrison
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         Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 26 of 102

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certificate of service that complies with all applicable rules.

Jackie Marlowe on behalf of Robin Harrison
Bar No. 9120700
jmarlowe@hicks-thomas.com




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Envelope ID: 75889031
Filing Code Description: Motion (No Fee)




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Filing Description: Motion for Expedited Discovery
Status as of 5/23/2023 8:21 AM CST




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Case Contacts




                                                                   sD
Name                BarNumber   Email                                TimestampSubmitted Status




                                                               es
James Pope                      jamesp@thepopelawfirm.com            5/22/2023 5:50:59 PM   SENT



                                                          rg
Robin Harrison                  rharrison@hicks-thomas.com           5/22/2023 5:50:59 PM   SENT

Charles Conrad
                                                      Bu
                                charles.conrad@pillsburylaw.com      5/22/2023 5:50:59 PM   SENT
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Nancy Jones                     nancy.jones@pillsburylaw.com         5/22/2023 5:50:59 PM   SENT
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Ryan Steinbrunner               ryan.steinbrunner@pillsburylaw.com 5/22/2023 5:50:59 PM     SENT
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Jackie Marlowe                  jmarlowe@hicks-thomas.com            5/22/2023 5:50:59 PM   SENT
                                        of




Angela McGinnis                 angela.mcginnis@pillsburylaw.com     5/22/2023 5:50:59 PM   SENT
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Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 27 of 102




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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 28 of 102                            5/22/2023 5:50 PM
                                                                          Marilyn Burgess - District Clerk Harris County
                                                                                               Envelope No. 75889031
                                                                                              By: DANIELLE JIMENEZ
                                                                                              Filed: 5/22/2023 5:50 PM

                                   CAUSE NO. 2023-22748

GALLERIA 2425 OWNER LLC,                        §       IN THE DISTRICT COURT OF
                                                §
        Plaintiff,                              §
                                                §
v.                                              §       HARRIS COUNTY, TEXAS
                                                §




                                                                              k
                                                                           ler
NATIONAL BANK OF KUWAIT,                        §
S.A.K.P., NEW YORK BRANCH,                      §




                                                                        tC
                                                §
                                                        281ST JUDICIAL DISTRICT




                                                                    ric
        Defendant.                              §




                                                                 ist
                           ORDER FOR EXPEDITED DISCOVERY




                                                              sD
        The Court has considered Plaintiff’s Motion for Expedited Discovery and Defendant’s




                                                           es
response thereto and hereby grants Plaintiff’s motion as follows:


                                                        rg
                                                     Bu
        It is ORDERED that Defendant National Bank of Kuwait, S.A.K.P, New York Branch,
                                                    n
shall produce the documents called for by Plaintiff’s counsel’s May 12. 2023 letter to
                                               ily
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Defendant’s counsel, subject to appropriate objections based on privilege. Documents withheld
                                        M




on the basis of privilege shall be listed in an appropriate privilege log. The documents to be
                                      of
                                   e




produced and the privileged documents log, if any, shall be provided to counsel for Plaintiff on
                               ffic




or before Friday, June 2, 2023, at 5:00 PM.
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                                                    PRESIDING JUDGE
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         Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 29 of 102

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Jackie Marlowe on behalf of Robin Harrison
Bar No. 9120700
jmarlowe@hicks-thomas.com




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Envelope ID: 75889031
Filing Code Description: Motion (No Fee)




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Filing Description: Motion for Expedited Discovery
Status as of 5/23/2023 8:21 AM CST




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Case Contacts




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Name                BarNumber   Email                                TimestampSubmitted Status




                                                               es
James Pope                      jamesp@thepopelawfirm.com            5/22/2023 5:50:59 PM   SENT



                                                          rg
Robin Harrison                  rharrison@hicks-thomas.com           5/22/2023 5:50:59 PM   SENT

Charles Conrad
                                                      Bu
                                charles.conrad@pillsburylaw.com      5/22/2023 5:50:59 PM   SENT
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Nancy Jones                     nancy.jones@pillsburylaw.com         5/22/2023 5:50:59 PM   SENT
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Ryan Steinbrunner               ryan.steinbrunner@pillsburylaw.com 5/22/2023 5:50:59 PM     SENT
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Jackie Marlowe                  jmarlowe@hicks-thomas.com            5/22/2023 5:50:59 PM   SENT
                                        of




Angela McGinnis                 angela.mcginnis@pillsburylaw.com     5/22/2023 5:50:59 PM   SENT
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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 30 of 102                              5/22/2023 5:52 PM
                                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                 Envelope No. 75889086
                                                                                                By: DANIELLE JIMENEZ
                                                                                                Filed: 5/22/2023 5:52 PM

                                    CAUSE NO. 2023-22748

GALLERIA 2425 OWNER LLC,                         §       IN THE DISTRICT COURT OF
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §       HARRIS COUNTY, TEXAS
                                                 §




                                                                              k
                                                                           ler
NATIONAL BANK OF KUWAIT,                         §
S.A.K.P., NEW YORK BRANCH,                       §




                                                                        tC
                                                 §
                                                         281ST JUDICIAL DISTRICT




                                                                    ric
        Defendant.                               §




                                                                 ist
      REQUEST FOR EMERGENCY HEARING ON PLAINTIFF’S MOTION FOR




                                                              sD
                       EXPEDITED DISCOVERY




                                                           es
        Plaintiff Galleria 2425 Owner LLC has filed a motion for limited, expedited discovery



                                                         rg
contemporaneously with this request for an expedited hearing. Because time is of the essence
                                                     Bu
                                                     n
with respect to the relief sought by Plaintiff herein and the potential consequences of delay,
                                                ily


Plaintiff respectfully asks the Court to set its motion for expedited discovery for hearing at the
                                             ar
                                         M




earliest convenient time that the Court has available.
                                       of




                                              Respectfully submitted,
                                    e
                                ffic




                                              By: /s/ Robin L. Harrison
                                                  Robin L. Harrison
                             O




                                                  State Bar No. 09120700
                           y




                                                  HICKS THOMAS LLP
                        op




                                                  700 Louisiana Street, Suite 2300
                      C




                                                  Houston, Texas 77002
                                                  (713) 547-9100 - Telephone
                     ial




                                                  (713) 547-9150 - Telecopier
                  fic




                                                  Email: rharrison@hicks-thomas.com
          of
        Un




{00342361.DOCX}
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 31 of 102




                                                    James Q. Pope
                                                    State Bar No. 24048738
                                                    The Pope Law Firm
                                                    6161 Savoy Drive, Suite 1125
                                                    Houston, Texas 77036
                                                    713-449-4481 - Telephone
                                                    281-657-9693 - Telecopier
                                                    Email: jamesp@thepopelawfirm.com




                                                                              k
                                                                           ler
                                             ATTORNEYS FOR PLAINTIFF




                                                                        tC
                                             GALLERIA 2425 OWNER LLC




                                                                    ric
                                                                 ist
                                                              sD
                             CERTIFICATE OF CONFERENCE




                                                           es
       I have conferred with counsel for the Defendant concerning this request for an expedited


                                                         rg
hearing and am advised that Defendant opposes this request.
                                                      Bu
                                                    n
                                             /s/ Robin L. Harrison
                                              ily

                                             Robin L. Harrison
                                            ar
                                        M
                                      of




                                CERTIFICATE OF SERVICE
                                   e
                               ffic




       I certify that all counsel of record are being served with a copy of this instrument on the
22nd day of May 2023, pursuant to the Texas Rules of Civil Procedure.
                           yO
                        op




                                             /s/ Robin L. Harrison
                                             Robin L. Harrison
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         Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 32 of 102

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Jackie Marlowe on behalf of Robin Harrison
Bar No. 9120700
jmarlowe@hicks-thomas.com




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Envelope ID: 75889086
Filing Code Description: Request




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Filing Description: Request for Hearing - Motion for Expedited Discovery
Status as of 5/23/2023 8:22 AM CST




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Case Contacts




                                                                   sD
Name                BarNumber   Email                                TimestampSubmitted Status




                                                               es
James Pope                      jamesp@thepopelawfirm.com            5/22/2023 5:52:33 PM   SENT



                                                          rg
Robin Harrison                  rharrison@hicks-thomas.com           5/22/2023 5:52:33 PM   SENT

Charles Conrad
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                                charles.conrad@pillsburylaw.com      5/22/2023 5:52:33 PM   SENT
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Nancy Jones                     nancy.jones@pillsburylaw.com         5/22/2023 5:52:33 PM   SENT
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Ryan Steinbrunner               ryan.steinbrunner@pillsburylaw.com 5/22/2023 5:52:33 PM     SENT
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Jackie Marlowe                  jmarlowe@hicks-thomas.com            5/22/2023 5:52:33 PM   SENT
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Angela McGinnis                 angela.mcginnis@pillsburylaw.com     5/22/2023 5:52:33 PM   SENT
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       Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 33 of 102                                            5/23/2023 4:37 PM
                                                                                           Marilyn Burgess - District Clerk Harris County
                                                                                                                Envelope No. 75932601
                                                                                                                         By: Bonnie Lugo

                                HICKS THOMAS LLP
                                     A REGISTERED LIMITED LIABILITY PARTNERSHIP
                                                                                                               Filed: 5/23/2023 4:37 PM




                                         2300 TC ENERGY TOWER
                                          700 LOUISIANA STREET
                                         HOUSTON, TEXAS 77002


ROBIN L. HARRISON                         TELEPHONE: 713.547.9100                                  E-MAIL ADDRESS
 713.547.9179                             FACSIMILE: 713.547.9150                          RHARRISON@HICKS-THOMAS.COM




                                                                                                  k
                                                                                               ler
                                              May 23, 2023




                                                                                            tC
Honorable Christine Weems




                                                                                        ric
District Judge
281st Judicial District Court




                                                                                     ist
201 Caroline, 14th Floor




                                                                                  sD
Houston, Texas 77002




                                                                          es
         Re:    Cause No. 2023-22748; Galleria 2425 Owner LLC v. National Bank of Kuwait,
                S.A.K.P., New York Branch in the 281st Judicial District Court of Harris County,


                                                                     rg
                Texas
                                                               Bu
Dear Judge Weems:
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                                                      ily

        Yesterday, Plaintiff Galleria 2425 Owner LLC filed a motion for expedited discovery in
                                                  ar



the referenced matter and a request for emergency hearing on the motion. As the Court is aware,
                                            M




Plaintiff’s suit alleges claims for breach of contract by Defendant National Bank of Kuwait
S.A.K.P., New York Branch, for improperly disclosing the terms of the parties’ confidential
                                        of




settlement agreement to third parties. Plaintiff believes that Defendant’s breaches have interfered
                                     e




with its efforts to perform its obligations under the settlement agreement. Plaintiff seeks injunctive
                                 ffic




relief and, alternatively, damages arising out of this violation of the settlement agreement.
                              O




       On Friday, May 12, 2023, Plaintiff provided Defendant’s counsel a list of four categories
                            y




of documents that they seek to be produced by Defendant. We will deliver a copy of that letter
                         op




and the list of documents requested to the Court in camera. On May 17, Defendant’s counsel
                     C




responded that it is opposed to any expedited discovery.
                  ial




       Because of certain approaching deadlines of which the Court also is aware, time is of the
                fic




essence with respect to the discovery that Plaintiff seeks. Therefore, we request that the Court
schedule an emergency hearing on Plaintiff’s motion for expedited discovery at the Court’s earliest
           of




convenience.
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         Thank you for your attention to this matter.

                                                   Very truly yours,



                                                   Robin L. Harrison


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         Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 34 of 102

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Jackie Marlowe on behalf of Robin Harrison
Bar No. 9120700
jmarlowe@hicks-thomas.com




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Envelope ID: 75932601
Filing Code Description: No Fee Documents




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Filing Description: Letter to Hon. Christine Weems - Request for
Emergency Hearing




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Status as of 5/23/2023 5:18 PM CST




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Case Contacts




                                                               es
Name                BarNumber   Email                                TimestampSubmitted Status




                                                          rg
James Pope                      jamesp@thepopelawfirm.com            5/23/2023 4:37:57 PM   SENT

Robin Harrison                                        Bu
                                rharrison@hicks-thomas.com           5/23/2023 4:37:57 PM   SENT
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Charles Conrad                  charles.conrad@pillsburylaw.com      5/23/2023 4:37:57 PM   SENT
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Nancy Jones                     nancy.jones@pillsburylaw.com         5/23/2023 4:37:57 PM   SENT
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Ryan Steinbrunner               ryan.steinbrunner@pillsburylaw.com 5/23/2023 4:37:57 PM     SENT
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Jackie Marlowe                  jmarlowe@hicks-thomas.com            5/23/2023 4:37:57 PM   SENT
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Angela McGinnis                 angela.mcginnis@pillsburylaw.com     5/23/2023 4:37:57 PM   SENT
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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 35 of 102                               5/24/2023 10:53 AM
                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No. 75951213
                                                                                                      By: Patricia Gonzalez
                                                                                                Filed: 5/24/2023 10:53 AM

                                    CAUSE NO. 2023-22748

GALLERIA 2425 OWNER, LLC,                     §               IN THE DISTRICT COURT OF
    Plaintiff,                                §
                                              §
v.                                            §               HARRIS COUNTY, TEXAS
                                              §
NATIONAL BANK OF KUWAIT,                      §
S.A.K.P., NEW YORK BRANCH,                    §




                                                                                k
                                              §




                                                                             ler
                                              §




                                                                          tC
       Defendant.                             §               281ST JUDICIAL DISTRICT




                                                                      ric
              NATIONAL BANK OF KUWAIT’S RESPONSE TO
     GALLERIA 2425 OWNER, LLC’S MOTION FOR EXPEDITED DISCOVERY




                                                                   ist
       AND NATIONAL BANK OF KUWAIT’S MOTION FOR SANCTIONS




                                                                sD
       National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”) files their Response to




                                                            es
Galleria 2425 Owner, LLC’s (“Borrower”) Motion for Expedited Discovery and, separately,


                                                         rg
                                                      Bu
NBK’s Motion for Sanctions, respectfully showing as follows:
                                                   n
       Borrower has manufactured incredibly spurious allegations against NBK in this most
                                                  ily
                                             ar



recent petition and application for temporary restraining order (the “TRO”) – which has been filed
                                          M




for the singular purpose of ostensibly obtaining “more time” thereby preventing NBK from
                                       of
                                    e




exercising its rights to foreclose on the Property. Borrower, specifically, makes the allegation that
                                ffic




some unidentified person at NBK disclosed unspecified details of the parties’ Confidential
                           y O




Settlement Agreement (the “Settlement Agreement”) to an unnamed third-party and that this
                        op
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disclosure prevented Borrower from honoring its contractual obligations owed to NBK. Due to
                 ial




this alleged breach of the Settlement Agreement, Borrower seeks injunctive relief, or alternatively
              fic
         of




damages.
       Un




       To start, these allegations are complete nonsense as NBK has no incentive for Borrower to

default on its obligations to perform under the Settlement Agreement. Further, this conduct of the

Borrower is a complete afront to the Court’s prior ruling, and it should not be tolerated. This Court

has previously rendered the Borrower’s request for the TRO moot and, in doing so, also warned


                                                                                         4858-5404-2982.v1
        Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 36 of 102




Borrower that any more TROs or filings related to the Settlement Agreement will result in the

award of NBK’s attorney fees, stating:

          And I will say this. If there are other filings relating to this issue of the
          settlement agreement, like the resolution of this issue and the foreclosure, we
          may start talking about fees.... I’ll say it out loud. We’re going to talk about
          sanctions for the cost of everybody’s time.




                                                                                         k
                                                                                      ler
          ***
          On the record, there will not be any TROs to enjoin the foreclosure. Any TRO




                                                                                   tC
          you try to file is going to end up in front of me, and I know the whole history
          of this case.




                                                                               ric
                                                                            ist
          Yet, despite the Court’s clear warning, Borrower is again concocting reasons for delay.




                                                                         sD
Borrower, specifically, now seeks “expedited discovery” regarding the recent, unsolicited contacts




                                                                     es
NBK has received related to the Property’s previous notice of foreclosure (which, as the Court


                                                                  rg
                                                             Bu
knows, was a public filing). While Borrower’s most recent motion does not actually state why it
                                                             n
needs this discovery or how these unsolicited contacts have anything to do with this lawsuit,
                                                       ily
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counsel for Borrower has all but admitted to NBK’s counsel that this is a fishing expedition seeking
                                                M




to find some basis to file yet another TRO. 1 The Court should deny this motion and award NBK
                                             of
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its costs in having to respond to (and argue against) yet another frivolous motion.
                                     ffic




          First and foremost, none of the discovery sought has anything to do with Borrower’s
                                  O




lawsuit that, according to Borrower, stems solely from NBK’s alleged contacts with a single,
                               y
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unnamed person (the details of which, as the Court knows, are completely unsupported).
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                     ial




Moreover, and in any event, NBK already made Borrower aware of these recent unsolicited
                 fic




contacts, has voluntarily provided Borrower’s counsel with these contacts, and has also informed
            of
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Borrower’s counsel that NBK has made no attempt, and has no intention, to engage in any

discussion with these parties as it relates to purchasing the Property.


1
    Moreover, when attempting to “confer” with NBK regarding the filing of this motion, Borrower’s counsel refused
    to tell NBK’s counsel why it needed the discovery on an “expedited basis.” Indeed, when NBK’s counsel asked
    this question, Borrower’s counsel merely responded with “I will put you down as opposed.”

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                                                                                                  4858-5404-2982.v1
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 37 of 102




        Equally, if not more importantly, this entire lawsuit should be dismissed (and there should

be no further discovery or expenses incurred) because the sole “damage” resulting from NBK’s

alleged “misconduct” (though there has been none) has already been resolved by the Court. That

is, this lawsuit has been rendered moot. Thus, the only thing this current motion seeks to




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accomplish is to provide some basis, no matter how contrived, for Borrower to elongate this




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lawsuit (despite how ridiculous it may be) even further. For this reason alone, Borrower’s motion




                                                                     ric
must be denied.




                                                                  ist
                                                               sD
                                         CONCLUSION

        NBK, as it has repeatedly stated, wants nothing more than for this litigation to resolved –




                                                            es
                                                         rg
either by Borrower fulfilling its obligations owed to NBK, or by the Court enforcing NBK’s rights
                                                     Bu
under the various agreements Borrower has breached, and continues to breach. But regardless of
                                                     n
                                               ily

how this resolution is reached, NBK should not be forced to continuously respond to Borrower’s
                                             ar
                                         M




completely fabricated claims. Nor should NBK be forced to incur the costs associated with
                                      of




responding to Borrower’s antics, like the present motion, at each and every turn. For these reasons,
                                    e
                                ffic




NBK respectfully requests the Court to deny the motion, award NBK its costs and fees associated
                            O




with responding to the motion, and to award NBK any further relief that it deems necessary to
                          y
                       op




ensure that the Court’s previous directions to Borrower are actually obeyed.
                    C




                                            PRAYER
                  ial
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        For the foregoing reasons, NBK respectfully requests that the Court deny Borrower’s
          of




Motion, to award NBK its costs and fees, and to for all other relief to which NBK has shown itself
        Un




entitled.




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                                                                                      4858-5404-2982.v1
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 38 of 102




Dated: May 24, 2023                         Respectfully submitted,

                                            PILLSBURY WINTHROP SHAW PITTMAN LLP

                                            By:      /s/ Charles Conrad
                                                   Charles C. Conrad
                                                   State Bar No. 24040721
                                                   Elizabeth Klingensmith




                                                                              k
                                                                           ler
                                                   State Bar No. 24046496
                                                   Ryan Steinbrunner




                                                                        tC
                                                   State Bar No. 24093201
                                                   Two Houston Center




                                                                    ric
                                                   909 Fannin, Suite 2000




                                                                 ist
                                                   Houston, Texas 77010-1018




                                                              sD
                                                   Telephone: (713) 276-7600
                                                   Facsimile: (281) 276-7634
                                                   charles.conrad@pillsburylaw.com




                                                           es
                                                   liz.klingensmith@pillsburylaw.com


                                                        rg
                                                   ryan.steinbrunner@pillsburylaw.com
                                                     Bu
                                            Attorneys for National Bank of Kuwait, S.A.K.P.,
                                                   n
                                            New York Branch
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                               CERTIFICATE OF SERVICE
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                                     of




        I hereby certify that on May 24, 2023, a true copy of the foregoing was served on counsel
                                   e




of record for all parties in accordance with the Texas Rules of Civil Procedure, including:
                               ffic




          Robin L. Harrison                   James Q. Pope
                            O




          Hicks Thomas LLP                    The Pope Law Firm
          700 Louisiana Street, Suite 2300    6161 Savoy Drive, Suite 1125
                          y
                       op




          Houston, TX 77002                   Houston, TX 77036
          rharrison@hick-thomas.com           jamesp@thepopelawfirm.com
                    C




          Counsel for Plaintiff Galleria 2425 Counsel for Plaintiff Galleria 2425
                 ial




          Owner, LLC                          Owner, LLC
             fic
         of




                                                  /s/ Charles C. Conrad
       Un




                                                  Charles C. Conrad




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                                                                                   4858-5404-2982.v1
         Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 39 of 102

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Nancy Jones on behalf of Charles Conrad
Bar No. 24040721
nancy.jones@pillsburylaw.com




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Filing Description: NBK's Response to Galleria's Motion for Expedited
Discovery




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Case Contacts




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Name                BarNumber   Email                                TimestampSubmitted   Status




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Robin Harrison                  rharrison@hicks-thomas.com           5/24/2023 10:53:45 AM SENT

James Pope                                            Bu
                                jamesp@thepopelawfirm.com            5/24/2023 10:53:45 AM SENT
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Charles Conrad                  charles.conrad@pillsburylaw.com      5/24/2023 10:53:45 AM SENT
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Ryan Steinbrunner               ryan.steinbrunner@pillsburylaw.com 5/24/2023 10:53:45 AM SENT
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Jackie Marlowe                  jmarlowe@hicks-thomas.com            5/24/2023 10:53:45 AM SENT
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                                                                                                    By: Patricia Gonzalez
                                                                                              Filed: 5/24/2023 10:53 AM

                                    CAUSE NO. 2023-22748

GALLERIA 2425 OWNER, LLC,                    §              IN THE DISTRICT COURT OF
    Plaintiff,                               §
                                             §
v.                                           §              HARRIS COUNTY, TEXAS
                                             §
NATIONAL BANK OF KUWAIT,                     §
S.A.K.P., NEW YORK BRANCH,                   §




                                                                              k
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                                                                           ler
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                                                                        tC
       Defendant.                            §              281ST JUDICIAL DISTRICT




                                                                    ric
           ORDER ON MOTION FOR EXPEDITED DISCOVERY AND
      ORDER ON NATIONAL BANK OF KUWAIT’S MOTION FOR SANCTIONS




                                                                 ist
                                                              sD
       ON THIS THE ____ day of ____________________, 2023, the Court considered Plaintiff,




                                                           es
Galleria 2425 Owner, LLC’s (“Borrower”) Motion for Expedited Discovery and Defendant,


                                                        rg
                                                    Bu
National Bank of Kuwait, S.A.K.P.’s (“NBK”) Response and Motion for Sanctions. The Court,
                                                  n
having considered the Borrower’s and NBK’s respective motions, the response(s) and reply(ies)
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(if any), the arguments of counsel (if any), and the pleadings on file, has determined that
                                          M




Borrower’s Motion for Expedited Discovery is without merit and should be denied and NBK’s
                                      of
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Motion for Sanctions should be granted.
                               ffic




       THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED that:
                          y O




       1.      The Motion for Expedited Discovery is DENIED.
                       op
                    C




       2.      The Motion for Sanctions is GRANTED.
                 ial




       3.      Borrower shall pay to NBK its costs and fees associated with responding to, and
              fic
         of




arguing, the Motion in the amount of $____________________________. Said funds are to be
       Un




paid directly to NBK’s counsel within three (3) business days from the date this order is signed.




                                                                                       4886-9961-0214.v2
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 41 of 102




       SIGNED this the _____ day of ______________________, 2023.



                                            ______________________________
                                            HONORABLE JUDGE PRESIDING




                                                                         k
RESPECTFULLY SUBMITTED:




                                                                      ler
                                                                   tC
By:    /s/ Charles C. Conrad
       Charles C. Conrad




                                                               ric
       State Bar No. 24040721




                                                            ist
       Elizabeth Klingensmith




                                                         sD
       State Bar No. 24046496
       Ryan Steinbrunner




                                                       es
       State Bar No. 24093201


                                                    rg
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                                                  n
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                                             ily


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                                     M




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                                  of




       ryan.steinbrunner@pillsburylaw.com
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Attorneys for Defendant National Bank of Kuwait,
S.A.K.P., New York Branch
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         Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 42 of 102

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nancy.jones@pillsburylaw.com




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Angela McGinnis                 angela.mcginnis@pillsburylaw.com     5/24/2023 10:53:45 AM SENT
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                                                                              Marilyn Burgess - District Clerk Harris County
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                                                                                                      By: Patricia Gonzalez
                                                                                                Filed: 5/24/2023 10:59 AM

                                    CAUSE NO. 2023-22748

GALLERIA 2425 OWNER, LLC,                     §               IN THE DISTRICT COURT OF
    Plaintiff,                                §
                                              §
v.                                            §               HARRIS COUNTY, TEXAS
                                              §
NATIONAL BANK OF KUWAIT,                      §
S.A.K.P., NEW YORK BRANCH,                    §




                                                                                k
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                                                                             ler
                                              §




                                                                          tC
       Defendant.                             §               281ST JUDICIAL DISTRICT




                                                                      ric
              NATIONAL BANK OF KUWAIT’S RESPONSE TO
     GALLERIA 2425 OWNER, LLC’S MOTION FOR EXPEDITED DISCOVERY




                                                                   ist
       AND NATIONAL BANK OF KUWAIT’S MOTION FOR SANCTIONS




                                                                sD
       National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”) files their Response to




                                                            es
Galleria 2425 Owner, LLC’s (“Borrower”) Motion for Expedited Discovery and, separately,


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                                                      Bu
NBK’s Motion for Sanctions, respectfully showing as follows:
                                                   n
       Borrower has manufactured incredibly spurious allegations against NBK in this most
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recent petition and application for temporary restraining order (the “TRO”) – which has been filed
                                          M




for the singular purpose of ostensibly obtaining “more time” thereby preventing NBK from
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                                    e




exercising its rights to foreclose on the Property. Borrower, specifically, makes the allegation that
                                ffic




some unidentified person at NBK disclosed unspecified details of the parties’ Confidential
                           y O




Settlement Agreement (the “Settlement Agreement”) to an unnamed third-party and that this
                        op
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disclosure prevented Borrower from honoring its contractual obligations owed to NBK. Due to
                 ial




this alleged breach of the Settlement Agreement, Borrower seeks injunctive relief, or alternatively
              fic
         of




damages.
       Un




       To start, these allegations are complete nonsense as NBK has no incentive for Borrower to

default on its obligations to perform under the Settlement Agreement. Further, this conduct of the

Borrower is a complete afront to the Court’s prior ruling, and it should not be tolerated. This Court

has previously rendered the Borrower’s request for the TRO moot and, in doing so, also warned


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Borrower that any more TROs or filings related to the Settlement Agreement will result in the

award of NBK’s attorney fees, stating:

          And I will say this. If there are other filings relating to this issue of the
          settlement agreement, like the resolution of this issue and the foreclosure, we
          may start talking about fees.... I’ll say it out loud. We’re going to talk about
          sanctions for the cost of everybody’s time.




                                                                                         k
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          ***
          On the record, there will not be any TROs to enjoin the foreclosure. Any TRO




                                                                                   tC
          you try to file is going to end up in front of me, and I know the whole history
          of this case.




                                                                               ric
                                                                            ist
          Yet, despite the Court’s clear warning, Borrower is again concocting reasons for delay.




                                                                         sD
Borrower, specifically, now seeks “expedited discovery” regarding the recent, unsolicited contacts




                                                                     es
NBK has received related to the Property’s previous notice of foreclosure (which, as the Court


                                                                  rg
                                                             Bu
knows, was a public filing). While Borrower’s most recent motion does not actually state why it
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needs this discovery or how these unsolicited contacts have anything to do with this lawsuit,
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counsel for Borrower has all but admitted to NBK’s counsel that this is a fishing expedition seeking
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to find some basis to file yet another TRO. 1 The Court should deny this motion and award NBK
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its costs in having to respond to (and argue against) yet another frivolous motion.
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          First and foremost, none of the discovery sought has anything to do with Borrower’s
                                  O




lawsuit that, according to Borrower, stems solely from NBK’s alleged contacts with a single,
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unnamed person (the details of which, as the Court knows, are completely unsupported).
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                     ial




Moreover, and in any event, NBK already made Borrower aware of these recent unsolicited
                 fic




contacts, has voluntarily provided Borrower’s counsel with these contacts, and has also informed
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Borrower’s counsel that NBK has made no attempt, and has no intention, to engage in any

discussion with these parties as it relates to purchasing the Property.


1
    Moreover, when attempting to “confer” with NBK regarding the filing of this motion, Borrower’s counsel refused
    to tell NBK’s counsel why it needed the discovery on an “expedited basis.” Indeed, when NBK’s counsel asked
    this question, Borrower’s counsel merely responded with “I will put you down as opposed.”

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        Equally, if not more importantly, this entire lawsuit should be dismissed (and there should

be no further discovery or expenses incurred) because the sole “damage” resulting from NBK’s

alleged “misconduct” (though there has been none) has already been resolved by the Court. That

is, this lawsuit has been rendered moot. Thus, the only thing this current motion seeks to




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accomplish is to provide some basis, no matter how contrived, for Borrower to elongate this




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lawsuit (despite how ridiculous it may be) even further. For this reason alone, Borrower’s motion




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must be denied.




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                                         CONCLUSION

        NBK, as it has repeatedly stated, wants nothing more than for this litigation to resolved –




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either by Borrower fulfilling its obligations owed to NBK, or by the Court enforcing NBK’s rights
                                                     Bu
under the various agreements Borrower has breached, and continues to breach. But regardless of
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how this resolution is reached, NBK should not be forced to continuously respond to Borrower’s
                                             ar
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completely fabricated claims. Nor should NBK be forced to incur the costs associated with
                                      of




responding to Borrower’s antics, like the present motion, at each and every turn. For these reasons,
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NBK respectfully requests the Court to deny the motion, award NBK its costs and fees associated
                            O




with responding to the motion, and to award NBK any further relief that it deems necessary to
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ensure that the Court’s previous directions to Borrower are actually obeyed.
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                                            PRAYER
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        For the foregoing reasons, NBK respectfully requests that the Court deny Borrower’s
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Motion, to award NBK its costs and fees, and to for all other relief to which NBK has shown itself
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entitled.




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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 46 of 102




Dated: May 24, 2023                         Respectfully submitted,

                                            PILLSBURY WINTHROP SHAW PITTMAN LLP

                                            By:      /s/ Charles Conrad
                                                   Charles C. Conrad
                                                   State Bar No. 24040721
                                                   Elizabeth Klingensmith




                                                                              k
                                                                           ler
                                                   State Bar No. 24046496
                                                   Ryan Steinbrunner




                                                                        tC
                                                   State Bar No. 24093201
                                                   Two Houston Center




                                                                    ric
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                                                                 ist
                                                   Houston, Texas 77010-1018




                                                              sD
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                                                   Facsimile: (281) 276-7634
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                                                   liz.klingensmith@pillsburylaw.com


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                                                   ryan.steinbrunner@pillsburylaw.com
                                                     Bu
                                            Attorneys for National Bank of Kuwait, S.A.K.P.,
                                                   n
                                            New York Branch
                                              ily
                                           ar



                               CERTIFICATE OF SERVICE
                                        M
                                     of




        I hereby certify that on May 24, 2023, a true copy of the foregoing was served on counsel
                                   e




of record for all parties in accordance with the Texas Rules of Civil Procedure, including:
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          Robin L. Harrison                   James Q. Pope
                            O




          Hicks Thomas LLP                    The Pope Law Firm
          700 Louisiana Street, Suite 2300    6161 Savoy Drive, Suite 1125
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          rharrison@hick-thomas.com           jamesp@thepopelawfirm.com
                    C




          Counsel for Plaintiff Galleria 2425 Counsel for Plaintiff Galleria 2425
                 ial




          Owner, LLC                          Owner, LLC
             fic
         of




                                                  /s/ Charles C. Conrad
       Un




                                                  Charles C. Conrad




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         Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 47 of 102

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Nancy Jones on behalf of Charles Conrad
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nancy.jones@pillsburylaw.com




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Filing Description: NBK's Motion for Sanctions
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Case Contacts




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Name                BarNumber   Email                                TimestampSubmitted   Status




                                                               es
Robin Harrison                  rharrison@hicks-thomas.com           5/24/2023 10:59:06 AM SENT



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                                                                                                    By: Patricia Gonzalez
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                                    CAUSE NO. 2023-22748

GALLERIA 2425 OWNER, LLC,                    §              IN THE DISTRICT COURT OF
    Plaintiff,                               §
                                             §
v.                                           §              HARRIS COUNTY, TEXAS
                                             §
NATIONAL BANK OF KUWAIT,                     §
S.A.K.P., NEW YORK BRANCH,                   §




                                                                              k
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                                                                        tC
       Defendant.                            §              281ST JUDICIAL DISTRICT




                                                                    ric
           ORDER ON MOTION FOR EXPEDITED DISCOVERY AND
      ORDER ON NATIONAL BANK OF KUWAIT’S MOTION FOR SANCTIONS




                                                                 ist
                                                              sD
       ON THIS THE ____ day of ____________________, 2023, the Court considered Plaintiff,




                                                           es
Galleria 2425 Owner, LLC’s (“Borrower”) Motion for Expedited Discovery and Defendant,


                                                        rg
                                                    Bu
National Bank of Kuwait, S.A.K.P.’s (“NBK”) Response and Motion for Sanctions. The Court,
                                                  n
having considered the Borrower’s and NBK’s respective motions, the response(s) and reply(ies)
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(if any), the arguments of counsel (if any), and the pleadings on file, has determined that
                                          M




Borrower’s Motion for Expedited Discovery is without merit and should be denied and NBK’s
                                      of
                                   e




Motion for Sanctions should be granted.
                               ffic




       THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED that:
                          y O




       1.      The Motion for Expedited Discovery is DENIED.
                       op
                    C




       2.      The Motion for Sanctions is GRANTED.
                 ial




       3.      Borrower shall pay to NBK its costs and fees associated with responding to, and
              fic
         of




arguing, the Motion in the amount of $____________________________. Said funds are to be
       Un




paid directly to NBK’s counsel within three (3) business days from the date this order is signed.




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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 49 of 102




       SIGNED this the _____ day of ______________________, 2023.



                                            ______________________________
                                            HONORABLE JUDGE PRESIDING




                                                                         k
RESPECTFULLY SUBMITTED:




                                                                      ler
                                                                   tC
By:    /s/ Charles C. Conrad
       Charles C. Conrad




                                                               ric
       State Bar No. 24040721




                                                            ist
       Elizabeth Klingensmith




                                                         sD
       State Bar No. 24046496
       Ryan Steinbrunner




                                                       es
       State Bar No. 24093201


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       Telephone: (713) 276-7600
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       Facsimile: (281) 276-7634
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       charles.conrad@pillsburylaw.com
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       liz.klingensmith@pillsburylaw.com
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       ryan.steinbrunner@pillsburylaw.com
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Attorneys for Defendant National Bank of Kuwait,
S.A.K.P., New York Branch
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                                                                                              Filed: 5/25/2023 5:30 PM

                                    CAUSE NO. 2023-22748

GALLERIA 2425 OWNER LLC,                       §      IN THE DISTRICT COURT OF
                                               §
        Plaintiff,                             §
                                               §
v.                                             §      HARRIS COUNTY, TEXAS
                                               §




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NATIONAL BANK OF KUWAIT,                       §
S.A.K.P., NEW YORK BRANCH,                     §




                                                                       tC
                                               §
                                                      281ST JUDICIAL DISTRICT




                                                                   ric
        Defendant.                             §




                                                                ist
                                                             sD
                                   NOTICE OF HEARING




                                                          es
        Please take notice that Plaintiff’s Motion for Expedited Discovery will be considered by



                                                       rg
the Court at remote oral hearing on Friday, May 26, 2023, at 10:30 a.m. The Zoom link
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information for the hearing is:
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        Join Zoom Meeting
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        +13462487799, 89883277363# US (Houston)
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        89883277363@zoomcrc.com
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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 52 of 102




                                         Respectfully submitted,

                                         By: /s/ Robin L. Harrison
                                             Robin L. Harrison
                                             State Bar No. 09120700
                                             HICKS THOMAS LLP
                                             700 Louisiana Street, Suite 2300
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                                             Email: rharrison@hicks-thomas.com




                                                                ric
                                                James Q. Pope




                                                             ist
                                                State Bar No. 24048738




                                                          sD
                                                The Pope Law Firm
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                                                       es
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                                                     rg
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                                                Email: jamesp@thepopelawfirm.com
                                                n
                                         ATTORNEYS FOR PLAINTIFF
                                          ily

                                         GALLERIA 2425 OWNER LLC
                                        ar
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                             CERTIFICATE OF SERVICE
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       I certify that all counsel of record have been served with a copy of the foregoing
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instrument on the 25th day of May 2023, pursuant to the Texas Rules of Civil Procedure.
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                                         /s/ Robin L. Harrison
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                                         Robin L. Harrison
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Amanda Guerrero on behalf of Robin Harrison
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Name                BarNumber   Email                                TimestampSubmitted Status




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Charles Conrad
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Nancy Jones                     nancy.jones@pillsburylaw.com         5/25/2023 5:30:34 PM   SENT
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Ryan Steinbrunner               ryan.steinbrunner@pillsburylaw.com 5/25/2023 5:30:34 PM     SENT
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Jackie Marlowe                  jmarlowe@hicks-thomas.com            5/25/2023 5:30:34 PM   SENT
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                                   CAUSE NO. 2023-22748

GALLERIA 2425 OWNER LLC,                       §        IN THE DISTRICT COURT OF
                                               §
        Plaintiff,                             §
                                               §
v.                                             §        HARRIS COUNTY, TEXAS
                                               §




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NATIONAL BANK OF KUWAIT,                       §
S.A.K.P., NEW YORK BRANCH,                     §




                                                                       tC
                                               §
                                                        281ST JUDICIAL DISTRICT




                                                                   ric
        Defendant.                             §




                                                                ist
                        NOTICE OF STATUS CONFERENCE HEARING




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        Please take notice that a status conference will be held in this case on June 7, 2023,




                                                          es
beginning at 8:30 a.m. in the 281st Judicial District Court of Harris County, Texas, 201 Caroline


                                                        rg
Street, 14th Floor, Houston, Texas, 77002.           Bu
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                                             Respectfully submitted,
                                             ar
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                                             By: /s/ Robin L. Harrison
                                                 Robin L. Harrison
                                      of




                                                 State Bar No. 09120700
                                   e




                                                 HICKS THOMAS LLP
                               ffic




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                                                 Email: rharrison@hicks-thomas.com
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                                                   James Q. Pope
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                                                   State Bar No. 24048738
                  fic




                                                   The Pope Law Firm
          of




                                                   6161 Savoy Drive, Suite 1125
                                                   Houston, Texas 77036
        Un




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                                                   Email: jamesp@thepopelawfirm.com

                                             ATTORNEYS FOR PLAINTIFF
                                             GALLERIA 2425 OWNER LLC



{00343101.DOCX}
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 58 of 102




                               CERTIFICATE OF SERVICE

       I hereby certify that on June 5, 2023, a true and correct copy of the foregoing instrument
was served on counsel of record for all parties in accordance with the Texas Rules of Civil
Procedure.

        Charles C. Conrad
        Pillsbury Winthrop Shaw Pittman LLP




                                                                             k
                                                                          ler
        Two Houston Center
        909 Fannin, Suite 2000




                                                                       tC
        Houston, TX 77010-1018




                                                                   ric
                                            /s/ Robin L. Harrison




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                                            Robin L. Harrison




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Bar No. 9120700
jmarlowe@hicks-thomas.com




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James Pope                      jamesp@thepopelawfirm.com            6/5/2023 4:02:41 PM   SENT



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Robin Harrison                  rharrison@hicks-thomas.com           6/5/2023 4:02:41 PM   SENT

Charles Conrad
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                                charles.conrad@pillsburylaw.com      6/5/2023 4:02:41 PM   SENT
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Nancy Jones                     nancy.jones@pillsburylaw.com         6/5/2023 4:02:41 PM   SENT
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Ryan Steinbrunner               ryan.steinbrunner@pillsburylaw.com 6/5/2023 4:02:41 PM     SENT
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Angela McGinnis                 angela.mcginnis@pillsburylaw.com     6/5/2023 4:02:41 PM   SENT
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                                                                                                   By: Patricia Gonzalez
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                                   CAUSE NO. 2023-22748

GALLERIA 2425 OWNER LLC,                       §        IN THE DISTRICT COURT OF
                                               §
        Plaintiff,                             §
                                               §
v.                                             §        HARRIS COUNTY, TEXAS
                                               §




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NATIONAL BANK OF KUWAIT,                       §
S.A.K.P., NEW YORK BRANCH,                     §




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                                               §
                                                        281ST JUDICIAL DISTRICT




                                                                   ric
        Defendant.                             §




                                                                ist
                        NOTICE OF STATUS CONFERENCE HEARING




                                                             sD
        Please take notice that a status conference will be held in this case on June 7, 2023,




                                                          es
beginning at 9:30 a.m. in the 281st Judicial District Court of Harris County, Texas, 201 Caroline


                                                        rg
Street, 14th Floor, Houston, Texas, 77002.           Bu
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                                             Respectfully submitted,
                                             ar
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                                             By: /s/ Robin L. Harrison
                                                 Robin L. Harrison
                                      of




                                                 State Bar No. 09120700
                                   e




                                                 HICKS THOMAS LLP
                               ffic




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                                                   James Q. Pope
                     ial




                                                   State Bar No. 24048738
                  fic




                                                   The Pope Law Firm
          of




                                                   6161 Savoy Drive, Suite 1125
                                                   Houston, Texas 77036
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                                             ATTORNEYS FOR PLAINTIFF
                                             GALLERIA 2425 OWNER LLC



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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 61 of 102




                               CERTIFICATE OF SERVICE

       I hereby certify that on June 5, 2023, a true and correct copy of the foregoing instrument
was served on counsel of record for all parties in accordance with the Texas Rules of Civil
Procedure.

        Charles C. Conrad
        Pillsbury Winthrop Shaw Pittman LLP




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        Two Houston Center
        909 Fannin, Suite 2000




                                                                       tC
        Houston, TX 77010-1018




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                                            /s/ Robin L. Harrison




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                                            Robin L. Harrison




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Jackie Marlowe on behalf of Robin Harrison
Bar No. 9120700
jmarlowe@hicks-thomas.com




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Name                BarNumber   Email                                TimestampSubmitted Status




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James Pope                      jamesp@thepopelawfirm.com            6/5/2023 4:10:16 PM   SENT



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Robin Harrison                  rharrison@hicks-thomas.com           6/5/2023 4:10:16 PM   SENT

Charles Conrad
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                                charles.conrad@pillsburylaw.com      6/5/2023 4:10:16 PM   SENT
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Nancy Jones                     nancy.jones@pillsburylaw.com         6/5/2023 4:10:16 PM   SENT
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Ryan Steinbrunner               ryan.steinbrunner@pillsburylaw.com 6/5/2023 4:10:16 PM     SENT
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Angela McGinnis                 angela.mcginnis@pillsburylaw.com     6/5/2023 4:10:16 PM   SENT
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                                                                                                           By: Bonnie Lugo
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                                    CAUSE NO. 2023-22748

GALLERIA 2425 OWNER, LLC,                     §              IN THE DISTRICT COURT OF
                                              §
       Plaintiff,                             §
                                              §
v.                                            §              HARRIS COUNTY, TEXAS
                                              §
NATIONAL BANK OF KUWAIT,                      §




                                                                               k
S.A.K.P., NEW YORK BRANCH,                    §




                                                                            ler
                                              §




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                                              §
       Defendant.                             §              281ST JUDICIAL DISTRICT




                                                                     ric
                      NATIONAL BANK OF KUWAIT’S




                                                                  ist
                          MOTION TO DISMISS




                                                               sD
            OR ALTERNATIVELY MOTION FOR SUMMARY JUDGMENT




                                                            es
       Pursuant to Texas Rule of Civil Procedure 91a, National Bank of Kuwait, S.A.K.P., New



                                                         rg
York Branch (“NBK”) files this, its Motion to Dismiss Galleria 2425 Owner, LLC’s (“Borrower”)
                                                     Bu
Original Petition (the “Complaint”) or, in the Alternative, its Motion for Summary Judgment
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pursuant to Rule 166a(c) of the Texas Rules of Civil Procedure, and would respectfully show the
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Court as follows:
                                      of




                                          I.
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                                   SUMMARY OF MOTION
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       This lawsuit was not filed with even an ounce of legal or factual merit. It was, instead,
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manufactured for the singular purpose of obtaining more time for Borrower to comply with the
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parties’ Confidential Settlement Agreement (the “Settlement Agreement”), thereby preventing
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NBK from exercising its rights to foreclose on the Property after declaring the Borrower in default.
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       But the Borrower’s allegations are not just meritless, they are complete nonsense. The
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Borrower, specifically, alleges that some unidentified person at NBK disclosed unspecified details

of the Settlement Agreement to an unnamed third-party at some unknown time and that this

disclosure somehow prevented Borrower from honoring its contractual obligations owed to NBK.




                                                                                        4887-4044-1961.v2
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Even if this head-scratcher of a claim were taken as true, Borrower also does not plead any

damages, nor could any possibly exist. In other words, there is simply nothing in the Complaint to

support a basis to impose liability on NBK. Rule 91a was enacted to apply to cases just like this

one, where claims are asserted that have no basis in law or fact. For these reasons, this case should




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be dismissed.




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       Moreover, and in any event, even if the Court determined that there was some rationale not




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to dismiss the Complaint on 91a grounds, and there is not, Borrower has represented to the Court




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that the only relief sought was additional time to comply with the Settlement Agreement, and that




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this alone would allow the Borrower to recover from whatever damage (which is unknown) that it



                                                         rg
suffered for whatever breach (which is also unknown) that allegedly occurred. The Court, taking
                                                      Bu
the Borrower’s statements as true, mooted this entire lawsuit and gave the Borrower the time it
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requested. That is, the only alleged “dispute” underlying this lawsuit no longer exists. The Court
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should now summarily dismiss the Complaint as moot before more judicial resources are wasted.
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                                            II.
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                                        BACKGROUND
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A.     The Borrower Files a Lawsuit against NBK to Prevent Foreclosure of the Property in
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       1.       As the Court is well aware, NBK made a $51.6 million loan (the “Loan”) to the
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Borrower in March of 2018. This Loan was made pursuant to a Loan Agreement (the “Loan
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Agreement”), Promissory Note (the “Note”), and a Deed of Trust (the “Deed of Trust”) (together
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the “Loan Documents”) secured by a commercial building located at 2425 West Loop South,
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Houston, Texas 77027 (the “Property”).

       2.       But the Borrower defaulted on the Loan in April 2021. NBK, as the holder of the

Note, then exercised its right to accelerate the maturity of the debt and to commence foreclosure

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                                                                                       4887-4044-1961.v2
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 65 of 102




of the Property in July 2021. The Borrower then filed a lawsuit on September 29, 2021 in this

Court and obtained a temporary injunction order preventing foreclosure on March 30, 2022 (the

“TI Order”).

       3.      On August 22, 2022, the parties entered into the Settlement Agreement and, in




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accordance with that document, the Borrower filed a notice of nonsuit as to all of its claims against




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NBK with prejudice and moved to permanently dissolve the TI Order. On September 1, 2022,




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NBK filed its Motion to Abate NBK’s Counterclaims (“Motion to Abate”). On September 6, 2022,




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the Court entered an order granting the Motion to Abate (the “Stay Order”).

B.     After Defaulting on the Settlement Agreement, the Borrower then filed this Lawsuit,




                                                             es
       a Second TRO, seeking to Prevent NBK from Foreclosing on the Property.


                                                          rg
       4.                                             Bu
               As the Court also knows, the Borrower has not fulfilled its obligations under the
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Settlement Agreement and, on March 28, 2023, NBK moved to lift the Stay Order and to appoint
                                                ily
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a receiver over the subject Property until it could be sold at public auction.
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       5.      But the day before NBK’s hearing on its lift stay and receivership application could
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be heard, Borrower filed this second TRO (under a different cause number and in a different court)
                                ffic




seeking to prevent this Court from appointing a receiver over the Property and to stop the
                             O




impending foreclosure. This lawsuit was ultimately transferred to this Court on April 11, 2023.
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C.     Borrower’s Allegations are Nonsensical and yet the only Relief Sought is More Time
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       to Comply with the Settlement Agreement.
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       6.       The Borrower asserts incredibly spurious allegations against NBK for the singular
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purpose of ostensibly obtaining more time thereby preventing NBK from exercising its rights to
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foreclose on the Property.

       7.      The Borrower, specifically, makes the claim that, “upon information and belief”

NBK “provided information concerning the specific terms” of the Settlement Agreement to “at

                                                  3


                                                                                       4887-4044-1961.v2
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 66 of 102




least one potential counterparty that was actively negotiating with [Borrower] in regard to

financing related to the [Property]” and that the “potential counterparty ended its negotiations with

Plaintiff once it learned the terms” of the Settlement Agreement. See Complaint at ⁋ 11. The

Borrower, unsurprisingly, has not articulated any damages for this alleged “breach” of the




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Settlement Agreement.




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        8.       The following day after filing its TRO, a hearing was held on NBK’s motion to lift




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stay and to appoint a receiver. At the hearing, counsel for Borrower admitted that, whatever




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“breach” there was, the granting of more time to comply with the Settlement Agreement would




                                                              es
allow the Borrower to recover from that breach.



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        9.       Taking these representations as true, and for the sake of resolving this conflict, the
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Court gave the Borrower the time it requested to comply with the Settlement Agreement.
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        10.      With this issue now mooted, the Court then warned the Borrower that any more
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TROs or filings related to the Settlement Agreement will result in the award of NBK’s attorney
                                        of




fees, stating:
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        And I will say this. If there are other filings relating to this issue of the
        settlement agreement, like the resolution of this issue and the foreclosure, we
                              O




        may start talking about fees.... I’ll say it out loud. We’re going to talk about
        sanctions for the cost of everybody’s time.
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        ***
        On the record, there will not be any TROs to enjoin the foreclosure. Any TRO
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        you try to file is going to end up in front of me, and I know the whole history
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        of this case.
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        11.      There was never any basis to file this lawsuit. But, in any event, the Court rendered
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this dispute moot on April 12, 2023 when it gave the Borrower the only relief it has requested. For

the reasons explained herein, the Complaint has no basis in law or fact, it is entirely moot, and it

should be dismissed in its entirety.


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                                                                                         4887-4044-1961.v2
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 67 of 102




                                       III.
                             ARGUMENT AND AUTHORITIES

A.     Legal Standard.

       12.     Texas Rule of Civil Procedure 91a, effective March 1, 2013, was enacted to apply

to cases just like this one, where the claims asserted have “no basis in law or fact.” TEX. R. CIV.




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P. 91a.1. “A cause of action has no basis in fact if no reasonable person could believe the facts




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pleaded.” Id. “A cause of action has no basis in law if the allegations, taken as true, together




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with inferences reasonably drawn from them, do not entitle the claimant to the relief sought.”




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Id.




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       13.     The trial court may not consider evidence in ruling on the motion and must base



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their decision solely on the pleading of the cause of action, together with any exhibits permitted
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by Rule 59 of the Texas Rules of Civil Procedure. See AC Interests, L.P. v. Tex. Comm’n on Env’t
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Quality, 543 S.W.3d 703, 705 (Tex. 2018) (quoting Rule 91a.6); see TEX. R. CIV. P. 59.
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       14.     Moreover, a traditional motion for summary judgment should be granted when no
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genuine issue of material fact exists and when the movant is entitled to judgment as a matter of
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law. See TEX. R. CIV. P. 166a(c); Lear Siegler, Inc. v. Perez, 819 S.W.2d 470, 471 (Tex. 1991).
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The Supreme Court of Texas encourages the use of summary judgment to eliminate untenable
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legal positions and to avoid the delays of trial where there is no genuine issue of fact. City of
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Houston v. Clearcreek Basin Auth., 589 S.W.2d 671 (Tex. 1979).
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B.     Borrower’s Complaint has no Basis in Law or Fact.

       15.     The Borrower’s sole claim for relief is a claim for breach of contract. But the

Borrower has not alleged any facts to support this claim, nor has it articulated any damages

resulting from the alleged breach. For this reason alone, the Complaint should be dismissed.




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                                                                             ler
       16.     The elements of a breach of contract claim are (1) the existence of a valid contract,




                                                                          tC
(2) performance or tendered performance by the plaintiff, (3) breach of the contract by the




                                                                      ric
defendant, and (4) damages to the plaintiff resulting from the breach. Rice v. Metro. Life Ins. Co.,




                                                                   ist
324 S.W.3d 660, 666 (Tex. App.—Fort Worth 2010, no pet.).




                                                                sD
       17.     The Borrower’s sole allegation is that NBK breached the confidentiality of the




                                                            es
                                                         rg
Settlement Agreement by disclosing its terms to an unnamed third-party. But Borrower’s
                                                     Bu
complaint does not identify what terms were disclosed, how they were disclosed or, better yet, to
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                                                ily

whom they were disclosed. The Borrower does not allege how this disclosure was allegedly made,
                                             ar



when this apparent disclosure took place, or who from NBK apparently made this disclosure.
                                         M
                                       of




Simply put, these threadbare allegations do not identify a basis for this claim.
                                    e
                                ffic




       18.     The Borrower also fails to plead that it suffered any damages. And if the alleged
                              O




breach of contract did not cause the Borrower damages, then there can be no recovery for breach
                           y
                        op




of contract. See Tidwell Props., Inc. v. Am. First Nat’l Bank, No. 14–04–00120–CV, 2006 WL
                    C




176862, at *3 (Tex.App.—Houston [14th Dist.] Jan. 26, 2006, no pet.) (mem. op.) (stating that
                 ial




absence of causal connection between alleged breach and damages sought precludes recovery for
              fic
         of




breach of contract); Abraxas Petroleum Corp. v. Hornburg, 20 S.W.3d 741, 758 (Tex.App.—El
       Un




Paso 2000, no pet.) (same).




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        19.     Indeed, the only relief sought by the Borrower is more time to comply with its

obligations owed to NBK. This is certainly not “damage” but, in any event, it showcases that the

only party that has been harmed at this juncture is NBK.

C.      Alternatively, The Court Should Summarily Dismiss this Lawsuit as Moot.




                                                                                  k
                                                                               ler
        20.     The Court should also dismiss this lawsuit because the Borrower already obtained




                                                                            tC
the only relief it seeks in the case – more time to comply with the Settlement Agreement. Indeed,




                                                                        ric
the Borrower openly represented that the granting of more time would allow it to recover from




                                                                     ist
whatever breach it alleges occurred.




                                                                  sD
        21.     “A case becomes moot when (1) a justiciable controversy no longer exists between




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                                                           rg
the parties, (2) the parties no longer have a legally cognizable interest in the case’s outcome, (3)
                                                       Bu
the court can no longer grant the requested relief or otherwise affect the parties’ rights or interests,
                                                       n
                                                 ily

or (4) any decision would constitute an impermissible advisory opinion.” Electric Reliability
                                              ar



Council of Texas, Inc. v. Panda Power Generation Infrastructure Fund, LLC, 619 S.W.3d 628,
                                           M
                                        of




634-35 (Tex. 2021).
                                     e
                                 ffic




        22.     The Court can, and should, find that this case has become moot for several reasons.
                              O




The Borrower’s singular ask from this Court was for more time to comply with its obligations
                           y
                        op




under the Settlement Agreement. While NBK objected to this relief, the Court gave the Borrower
                      C




the time it requested, effectively resolving whatever dispute that existed. Indeed, Borrower’s
                  ial




counsel admitted to the Court that this relief allowed it to recover from the breach that occurred.
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          of




        23.     Given the Court’s decision, the parties no longer have an interest in the cases’
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outcome. There is no further relief for the Court to grant, and any further decision by the Court

pertaining to this matter would constitute an advisory opinion. For this reason as well, the Court

should summarily dismiss this lawsuit in its entirety.

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                                               PRAYER

        For the forgoing reasons, NBK prays that the Court Grant its Motion to Dismiss Pursuant

to Rule 91a or, alternatively, grant its Motion for Summary Judgment pursuant to Rule 166a(c) of

the Texas Rules of Civil Procedure and dismiss the Borrower’s Complaint in its entirety. NBK




                                                                                   k
                                                                                ler
also respectfully prays that this Court award NBK its costs as well as reasonable and necessary




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attorney fees and grant it all other relief to which it is entitled.




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                                                                                  4887-4044-1961.v2
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 71 of 102




                                             Respectfully submitted,

                                             PILLSBURY WINTHROP SHAW PITTMAN LLP

                                             By:      /s/ Charles Conrad
                                                    Charles C. Conrad
                                                    State Bar No. 24040721
                                                    Elizabeth Klingensmith




                                                                              k
                                                                           ler
                                                    State Bar No. 24046496
                                                    Ryan Steinbrunner




                                                                        tC
                                                    State Bar No. 24093201
                                                    Two Houston Center




                                                                    ric
                                                    909 Fannin, Suite 2000




                                                                 ist
                                                    Houston, Texas 77010-1018




                                                              sD
                                                    Telephone: (713) 276-7600
                                                    Facsimile: (281) 276-7634




                                                           es
                                                    charles.conrad@pillsburylaw.com
                                                    liz.klingensmith@pillsburylaw.com


                                                        rg
                                                    ryan.steinbrunner@pillsburylaw.com
                                                     Bu
                                                    Attorneys for National Bank of Kuwait,
                                                    n
                                                    S.A.K.P., New York Branch
                                               ily
                                            ar
                                        M
                                      of




                                CERTIFICATE OF SERVICE
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                               ffic




       In accordance with Rule 21 of the Texas Rules of Civil Procedure, I certify that on this 9th
                            O




day of June 2023, a true and correct copy of the foregoing document was served on all counsel of
                          y
                       op




record through electronic service.
                    C
                 ial




                                             /s/ Charles C. Conrad
              fic




                                                    Charles C. Conrad
         of
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                                                                                     4887-4044-1961.v2
         Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 72 of 102

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The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Angela McGinnis on behalf of Charles Conrad
Bar No. 24040721
angela.mcginnis@pillsburylaw.com




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Envelope ID: 76487919
Filing Code Description: Motion (No Fee)




                                                                             tC
Filing Description: 20230609 NBK 91a Motion to Dismiss Alt Mtn SMJ
Status as of 6/12/2023 9:14 AM CST




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                                                                      ist
Case Contacts




                                                                   sD
Name                BarNumber   Email                                TimestampSubmitted Status




                                                               es
James Pope                      jamesp@thepopelawfirm.com            6/9/2023 5:39:51 PM   SENT



                                                          rg
Robin Harrison                  rharrison@hicks-thomas.com           6/9/2023 5:39:51 PM   SENT

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Nancy Jones                     nancy.jones@pillsburylaw.com         6/9/2023 5:39:51 PM   SENT
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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 73 of 102
                                                            MarilynBurgess-DistrictClerk
                                                                           HarrisCounty
                                                                           EnvelopeNo:76487919
                                                                           By:LUGO,BONNIE
                                                                           Filed:6/9/20235:39:51PM
                                   CAUSE NO. 2023-22748

GALLERIA 2425 OWNER, LLC,                   §              IN THE DISTRICT COURT OF
                                            §
       Plaintiff,                           §
                                            §
v.                                          §              HARRIS COUNTY, TEXAS
                                            §
NATIONAL BANK OF KUWAIT,                    §




                                                                             k
S.A.K.P., NEW YORK BRANCH,                  §




                                                                          ler
                                            §




                                                                       tC
                                            §
       Defendant.                           §              281ST JUDICIAL DISTRICT




                                                                   ric
                     ORDER ON NATIONAL BANK OF KUWAIT’S




                                                                ist
                       MOTION FOR SUMMARY JUDGMENT




                                                             sD
                                                         es
       ON THIS THE ____ day of ____________________, 2023, the Court considered



                                                       rg
Defendant, National Bank of Kuwait, S.A.K.P.’s (“NBK”) Motion for Summary Judgment. The
                                                   Bu
Court, having considered NBK’s Motion, the response(s) and reply(ies) (if any), the arguments of
                                                 n
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counsel (if any), and the pleadings on file, has determined that NBK’s Motion should be
                                           ar
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GRANTED.
                                     of




       THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s
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claims in the above-styled matter are hereby DISMISSED WITH PREJUDICE.
                         y O
                      op




       SIGNED this the _____ day of ______________________, 2023.
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                                            ______________________________
                                            HONORABLE JUDGE PRESIDING
         of
       Un




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     Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 74 of 102
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                                                                         HarrisCounty
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                                                                         By:LUGO,BONNIE
                                                                         Filed:6/9/20235:39:51PM
                                  CAUSE NO. 2023-22748

GALLERIA 2425 OWNER, LLC,                  §             IN THE DISTRICT COURT OF
                                           §
       Plaintiff,                          §
                                           §
v.                                         §             HARRIS COUNTY, TEXAS
                                           §
NATIONAL BANK OF KUWAIT,                   §




                                                                           k
S.A.K.P., NEW YORK BRANCH,                 §




                                                                        ler
                                           §




                                                                     tC
                                           §
       Defendant.                          §             281ST JUDICIAL DISTRICT




                                                                 ric
                                                              ist
        ORDER ON NATIONAL BANK OF KUWAIT’S MOTION TO DISMISS




                                                           sD
                                                        es
       ON THIS THE ____ day of ____________________, 2023, the Court considered



                                                     rg
Defendant, National Bank of Kuwait, S.A.K.P.’s (“NBK”) Motion to Dismiss. The Court, having
                                                  Bu
considered NBK’s Motion, the response(s) and reply(ies) (if any), the arguments of counsel (if
                                                n
                                               ily

any), and the pleadings on file, has determined that NBK’s Motion should be GRANTED.
                                          ar
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       THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s
                                    of




claims in the above-styled matter are hereby DISMISSED WITH PREJUDICE.
                                  e
                              ffic
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       SIGNED this the _____ day of ______________________, 2023.
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                                           HONORABLE JUDGE PRESIDING
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                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 77180120
                                                                                                     By: Patricia Gonzalez
                                                                                                  Filed: 7/3/2023 1:28 PM

                                    CAUSE NO. 2023-22748


GALLERIA 2425 OWNER LLC            §                                IN THE DISTRICT COURT
                                   §
                                   §
       Plaintiff,                  §




                                                                               k
                                   §




                                                                            ler
                                   §
v.                                 §                                HARRIS COUNTY, TEXAS




                                                                         tC
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                                                                     ric
                                   §
NATIONAL BANK OF KUWAIT, S.A.K.P., §




                                                                  ist
NEW YORK BRANCH                    §




                                                               sD
                                   §
                                   §




                                                            es
      Defendant.                   §                                281st JUDICIAL DISTRICT



                                                         rg
                                                     Bu
                   PLAINTIFF GALLERIA 2425 OWNER LLC’S
        ORIGINAL PETITION, EMERGENCY APPLICATION FOR TEMPORARY
                                                   n
                   RESTRAINING ORDER AND JURY DEMAND
                                                ily
                                             ar


         Plaintiff Galleria 2425 Owner LLC (“Plaintiff”) files this Original Petition against
                                           M




Defendant National Bank of Kuwait, S.A.K.P., New York Branch (“NBK” or “Defendant”) and
                                       of
                                    e




hereby states and alleges the following:
                                ffic




                                            I.
                             O




                                      DISCOVERY PLAN
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   1.       Discovery should be conducted pursuant to Level 2 of Rule 190.3 of the Texas Rules
                      C




of Civil Procedure.
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                                             II.
                                       RELIEF SOUGHT
           of
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   2.       Pursuant to Texas Rule of Civil Procedure 47(c), Plaintiff is presently seeking monetary

relief over $1,000,000. The damages sought are within the jurisdictional limits of the Court.




                                                                                           Page 1 of 8
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                                                III.
                                              PARTIES

    3.      Plaintiff Galleria 2425 Owner LLC is a limited liability company doing business in

Texas and is the owner of the building located at 2425 West Loop S., Houston, Texas (the




                                                                                k
                                                                             ler
“Building”).




                                                                          tC
    4.      Defendant National Bank of Kuwait, S.A.K.P., New York Branch is a banking




                                                                      ric
corporation organized under the laws of Kuwait, acting through its New York Branch. Defendant




                                                                   ist
                                                                sD
has not designated a registered agent for service of process in the State of Texas. As such, pursuant




                                                             es
to Texas Civil Practice and Remedies Code §17.041-045, the Texas Secretary of State is



                                                          rg
Defendant’s agent for service of process in this proceeding, which arises out of business Defendant
                                                      Bu
has done in this state, and Defendant may be served through the Texas Secretary of State. The
                                                    n
                                                 ily

Secretary of State shall thereafter forward a copy by certified mail, return receipt requested, to
                                               ar
                                              M




Corporation Service Company, 299 Park Avenue, New York, New York 10171. Plaintiff requests
                                         of




that the clerk issue citation at this time.
                                      e
                                  ffic




                                               IV.
                                     JURISDICTION AND VENUE
                            y  O




    5.      The Court has jurisdiction over the parties and claims which are the subject of this suit.
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    6.      Venue is mandatory in Harris County, Texas pursuant to Texas Civil Practice &
                  ial




Remedies Code § 15.020 because the agreement that forms the basis of this lawsuit constitutes a
               fic




“major transaction,” is in writing, and the parties thereto agreed that a suit arising from the
            of
          Un




agreement will be brought in Harris County, Texas. Venue is additionally proper in Harris County,

Texas pursuant to Texas Civil Practice & Remedies Code § 15.0115 because the Defendant

transacted business in and around Harris County, Texas; the real estate which forms the basis of




                                                                                          Page 2 of 8
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the claims asserted by Plaintiff is located in Harris County, Texas; and the agreement which forms

the basis of this suit was executed and performable in Harris County, Texas.

                                                V.
                                              FACTS




                                                                                k
   7.        In 2018, Plaintiff and Defendant executed a loan agreement in which Defendant loaned




                                                                             ler
certain funds to Plaintiff. There is a dispute concerning the terms of the loans agreement, as well




                                                                          tC
                                                                      ric
as a dispute concerning the extent and validity of the Defendant’s alleged security interest in the




                                                                   ist
Building.




                                                                sD
   8.        A dispute arose between Plaintiff and Defendant in 2021 concerning the loan




                                                            es
agreement. In September 2021, Plaintiff initiated a lawsuit against Defendant.


                                                         rg
   9.                                                 Bu
             To settle claims and controversies existing between them, the parties entered into a
                                                   n
Confidential Settlement Agreement dated August 22, 2022 (the “Confidential Settlement
                                                ily
                                             ar


Agreement”).       The Confidential Settlement Agreement includes express confidentiality
                                          M




obligations requiring the parties to keep the contents and terms of the agreement completely
                                       of
                                    e




confidential.
                                ffic




   10.       Pursuant to the Confidential Settlement Agreement, Plaintiff nonsuited its claims
                           y O




asserted in the lawsuit against Defendant on or around August 25, 2022.
                        op
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   11.       Upon information and belief, Defendant has improperly disclosed the terms of the
                  ial




Confidential Settlement Agreement to third parties in direct violation of its express confidentiality
                fic




obligations. Defendant provided information concerning the specific terms of the Confidential
           of
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Settlement Agreement to at least one potential counterparty that was actively negotiating with

Plaintiff in regard to financing related to the Building. The potential counterparty ended its

negotiations with Plaintiff once it learned the terms of the Confidential Settlement Agreement from

Defendant.

                                                                                         Page 3 of 8
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   12.     Plaintiff has been made aware that Defendant now intends to post the Building for the

May 2, 2023 foreclosure sale.

                                           VI.
                                    CAUSES OF ACTIONS




                                                                              k
              BREACH OF CONFIDENTIAL SETTLEMENT AGREEMENT




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   13.     The allegations contained in the preceding and subsequent paragraphs are incorporated




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                                                                    ric
herein by reference for all purposes.




                                                                 ist
   14.     Plaintiff and Defendant reached a valid and enforceable agreement as expressly set




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forth in the unambiguous terms of the Confidential Settlement Agreement. Pursuant to such




                                                           es
Confidential Settlement Agreement, Defendant agreed to keep the contents and terms of the


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                                                     Bu
parties’ agreement completely confidential. Plaintiff dismissed its claims in the Lawsuit against
                                                  n
Defendant in reliance upon Defendant’s promise to uphold its confidentiality obligations set forth
                                               ily
                                            ar


in the Confidential Settlement Agreement.
                                         M




   15.     Defendant breached the Confidential Settlement Agreement by disclosing its contents
                                        of
                                    e




and terms to third parties in violation of the agreement’s express confidentiality provisions. As a
                                ffic




direct and proximate result of Defendant’s breach of the Confidential Settlement Agreement,
                          y O




Plaintiff has been damaged in an amount exceeding the minimum jurisdictional limits of this Court.
                       op




Plaintiff accordingly seeks recovery of all damages suffered due to Defendant’s breach of contract,
                    C
                 ial




including, but not limited to, all direct and consequential damages incurred as a result of
              fic




Defendant’s conduct.
           of
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             COMPLIANCE CONCERNS WITH COURT ORDER/DIRECTIVES

   16.     In a prior hearing the court Ordered that the settlement payment, the subject of the

Confidential Settlement Agreement, would be paid by July 3, 2023. However, the parties did not

anticipate the early closure of the banks and the ability to wire funds. Plaintiff has become aware

                                                                                       Page 4 of 8
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that it is unable to wire funds after 11:30am, which was a surprise to the Plaintiff and not

anticipated.

   17.     Furthermore, the Court previously advised all parties, during a prior hearing, that the

settlement payment would be made, but the Plaintiff would still have the ability to prosecute any




                                                                               k
                                                                            ler
other claims, as it deems necessary. However, Defendant is requiring that Plaintiff execute a




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release, that would release all claims, including any claims from this suit, as a condition for




                                                                     ric
Defendant to accept the settlement payment. Conditional release of claims was not a directive




                                                                  ist
                                                               sD
from this court, and was not part of any court order regarding the tender of the settlement payment.




                                                            es
   18.     Plaintiff is attempting to remit the settlement payment, but is unable to remit such



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payment as a result of the bank’s inability to process wire transfers today, and the Defendant
                                                     Bu
unwillingness to accept funds absent a release of claims, which was not ordered by this court.
                                                   n
                                                ily

                                             VII.
                                             ar


                                        ATTORNEYS’ FEES
                                         M




   19.     Plaintiff has been required to employ counsel to represent its interests as a result of
                                       of
                                    e




Defendant’s breach of the Confidential Settlement Agreement. Plaintiff seeks all reasonable and
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necessary attorneys’ fees, expenses, and costs of court pursuant to the terms of the Confidential
                           y O




Settlement Agreement and applicable law, including, but not limited to, Section 38.001 of the
                        op
                    C




Texas Civil Practice & Remedies Code.
                 ial




                                          VIII.
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                           PLAINTIFF’S INJURIES AND DAMAGES
           of




   20.     The Plaintiff has and will continue to be damaged and injured by Defendant’s conduct
         Un




in as much as Plaintiff has had to incur attorney’s fees and costs to defend against the Defendant’s

wrongful actions and will lose all equity in the Building if a foreclosure sale is completed.

                                     IX.
                 PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF

                                                                                        Page 5 of 8
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   21.     The Plaintiff requires injunctive relief to prevent the Defendant from improperly and

wrongfully foreclosing on the Building.

   22.     The Plaintiff has alleged a cause of action against the Defendant, and as indicated in




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this petition, the Plaintiff has shown a probable right of recovery and likelihood of success on the




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merits, the Plaintiff will suffer imminent, irreparable harm without Court intervention, and there




                                                                          tC
                                                                      ric
is no adequate remedy at law.




                                                                   ist
   23.     As a direct and proximate result of the Defendant’s wrongful actions as alleged in this




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petition, the Plaintiff has suffered and will continue to suffer imminent injury that will be




                                                             es
irreparable and for which no remedy at law exists without the protections of a temporary


                                                          rg
                                                       Bu
restraining order and injunctive relief. There is no necessity for a bond to facilitate the injunctive
                                                   n
relief requested.
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   24.     The only adequate, effective, and complete relief to the Plaintiff is to restrain the
                                          M




Defendant from further engaging in certain proscribed activities, as set forth below. Pursuant to
                                       of
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Tex. R. Civ. P. 680 et seq. and Tex. Civ. Prac. & Rem. Code § 65.001 et seq., and in order to
                                 ffic




preserve the status quo during the pendency of this action, the Plaintiff seek a temporary restraining
                           y O




order, and on hearing, a temporary and permanent injunction, ordering and immediately restraining
                        op




the Defendant, including the Defendant’s agents, servants, employees, independent contractors,
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attorneys, representatives, and those persons or entities in active concert or participation with them
              fic




(collectively, the “Restrained Parties”) as follows:
           of
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           a) Enjoining the Defendant from foreclosing on the Building or otherwise denying

               access thereto.

           b) Mandating that the Defendant sale the Property at the July 5 2023 foreclosure sale.

                                                 X.

                                                                                          Page 6 of 8
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                                         JURY DEMAND

   25.      Plaintiff demands a jury trial and tenders the appropriate fee with this petition.

                                               XI.
                                             PRAYER




                                                                                 k
         WHEREFORE, Plaintiff Galleria 2425 Owner LLC respectfully requests that Defendant




                                                                              ler
National Bank of Kuwait, S.A.K.P., New York Branch be cited to appear and answer herein and




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upon final hearing hereof, Plaintiff be awarded its damages resulting from Defendant’s breach of




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                                                                    ist
contract, costs and fees, including reasonable and necessary attorneys’ fees, along with any other




                                                                 sD
and further relief to which Plaintiff may be justly entitled at law or in equity.




                                                             es
                                                       Respectfully Submitted:


                                                           rg
                                                       Bu
                                                       /s/ James Q. Pope
                                                       James Q. Pope
                                                    n
                                                       TBN: 24048738
                                                 ily

                                                       The Pope Law firm
                                              ar


                                                       6161 Savoy Drive, Suite 1125
                                          M




                                                       Houston, Texas 77036
                                                       Ph: 713-449-4481
                                        of




                                                       Fx: 281-657-9693
                                     e




                                                       jamesp@thepopelawfirm.com
                                 ffic
                           y O




                                               JURAT
                        op
                     C




         My name is Alfred Kelly Williams, my date of birth is 09/22/1960. My office address is
                  ial




2425 West Loop South, Houston, Texas 77027. I declare under penalty of perjury that the facts
               fic




and events set forth in the foregoing Amended Petition, Emergency Application for Temporary
           of




Restraining Order and Jury Demand are within my personal knowledge and are true and correct.
         Un




Executed in Harris County, State of Texas, on the 3rd day of July 2023.



                                               _/s/ Alfred Kelly Williams
                                               Alfred Kelly Williams

                                                                                          Page 7 of 8
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 82 of 102




                                       Certificate of Service

    I hereby certify that interested parties registered to receive notice via the court’s electronic
noticing system was served the foregoing document on July 3, 2023.



                                                           /s/ James Q. Pope




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                                                           James Q. Pope




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         Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 83 of 102

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James Pope on behalf of James Pope
Bar No. 24048738
jamesp@thepopelawfirm.com




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Envelope ID: 77180120
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Filing Description: Amended Petition and Emergency Application for
Temporary Restraining Order




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Status as of 7/3/2023 2:41 PM CST




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Case Contacts




                                                               es
Name                BarNumber   Email                                TimestampSubmitted Status




                                                          rg
James Pope                      jamesp@thepopelawfirm.com            7/3/2023 1:28:00 PM   SENT

Robin Harrison                                        Bu
                                rharrison@hicks-thomas.com           7/3/2023 1:28:00 PM   SENT
                                                    n
Charles Conrad                  charles.conrad@pillsburylaw.com      7/3/2023 1:28:00 PM   SENT
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Nancy Jones                     nancy.jones@pillsburylaw.com         7/3/2023 1:28:00 PM   SENT
                                              ar



Ryan Steinbrunner               ryan.steinbrunner@pillsburylaw.com 7/3/2023 1:28:00 PM     SENT
                                           M




Jackie Marlowe                  jmarlowe@hicks-thomas.com            7/3/2023 1:28:00 PM   SENT
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Angela McGinnis                 angela.mcginnis@pillsburylaw.com     7/3/2023 1:28:00 PM   SENT
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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 84 of 102
                                                            MarilynBurgess-DistrictClerk
                                                                                HarrisCounty
                                                                                EnvelopeNo:77180120
                                                                                By:GONZALEZ,PATRICIA
                                                                                Filed:7/3/20231:28:00PM
                                     CAUSE NO. 2023-22748


GALLERIA 2425 OWNER LLC            §                                 IN THE DISTRICT COURT
                                   §
       Plaintiff,                  §
                                   §




                                                                                k
v.                                 §                                 HARRIS COUNTY, TEXAS




                                                                             ler
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NATIONAL BANK OF KUWAIT, S.A.K.P., §




                                                                      ric
NEW YORK BRANCH                    §
                                   §




                                                                   ist
      Defendant.                   §                                 281st JUDICIAL DISTRICT




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                                                             es
              ORDER GRANTING PLAINTIFF’S EMERGENCY APPLICATION
                     FOR TEMPORARY RESTRAINING ORDER


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        CAME ON FOR CONSIDERATION Plaintiff’s Emergency Application or Temporary
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Restraining Order and the court being apprised of the premises based upon the pleadings, exhibits,
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records, and documents filed by counsel and presented to the court, as well as the arguments of
                                       of




counsel at the hearing, the Court finds that unless Defendant is enjoined from posting Plaintiff’s
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building located at 2425 West Loop S., Houston, Texas 77027 for the July 2023 foreclosure sale,
                             O




Plaintiff will suffer immediate and irreparable harm and lose access to both the Property and the
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equity in the building, and there is no other adequate remedy at law. The Court finds that there is
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a dispute between the parties and a possible violation of certain confidentiality obligations, as well
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as a dispute as to compliance with certain court orders and/or directives. Plaintiff was unable to
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resolve this matter prior to the hearing on Plaintiff’s Emergency Application for Temporary
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Restraining Order. The Court is of the opinion that the Application should be GRANTED.

Therefore, it is:




                                                                                          Page 1 of 3
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 85 of 102




        ORDERED that National Bank of Kuwait, S.A.K.P., New York Branch its agents,

assigns or successors in interest shall not foreclose on the building located at 2425 West Loop S.,

Houston, Texas 77027 currently scheduled for the July 5, 2023 foreclosure sale, or any subsequent

foreclosure sale without further order of this court. It is further




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                                                                               ler
        ORDERED that National Bank of Kuwait, S.A.K.P., New York Branch its agents,




                                                                            tC
assigns or successors in interest, shall not take any steps to cause the building located 2425 West




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                                                                     ist
Loop S., Houston, Texas 77027 to be sold at the July 2023, or any subsequent foreclosure sale,




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including but not limited to, having a receiver, or any other third party, appointed that would




                                                               es
adversely affect Plaintiff’s interest in, or access to, the building, and shall not in any way interfere,



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or cause an interference, with Plaintiff’s quiet use and enjoyment of the building located at 2425
                                                     n
West Loop S., Houston, Texas 77027, without further order of this court. It is further
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        ORDERED that National Bank of Kuwait, S.A.K.P., New York Branch its agents,
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                                        of




assigns or successors in interest shall immediately cease any and all communications, verbal or
                                      e




written, that violate the Confidential Settlement Agreement dated August 22, 2022, shall not
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                              O




interfere with Plaintiff’s business, shall not communicate with Plaintiff’s tenants, customers or
                            y




business partners or affiliates, shall not violate any terms of the Confidential Settlement Agreement
                         op
                     C




dated August 22, 2022, shall keep the contents and terms of the Confidential Settlement Agreement
                  ial




dated August 22, 2022 completely confidential, and the parties shall attend mediation prior to the
               fic
          of




Temporary Injunction hearing.
        Un




    ORDERED that neither party shall serve any discovery on Plaintiff or any other person or

entity, including but not limited to any requests for production, interrogatories, deposition notices,

deposition or trial subpoenas, and depositions on written questions. It is further



                                                                                            Page 2 of 3
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 86 of 102




   ORDERED that if the Property is sold at a foreclosure sale after entry of this Order, then the

foreclosure sale shall be rescinded within three (3) days of entry of this Order. It is further


   ORDERED that the terms of the settlement agreement entered into by the parties on or about

August 22, 2022, and the court’s prior order and directives extending the settlement payment date




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remain in effect, preserving the status quo and extending any deadlines or expiration dates therein,




                                                                            tC
until the conclusion of the final temporary injunction hearing.




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       IT IS FURTHER ORDERED that bond shall be set in the amount of $_____________




                                                                  sD
and the Temporary Injunction hearing is set for the following date: ________________________




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at the following time: _______________.
                                                       Bu
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Signed: ____________
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                                               JUDGE PRESIDING
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        Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 87 of 102                              7/5/2023 8:06 AM
                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 77197292
                                                                                                By: JONATHAN PATTON
                                                                                                  Filed: 7/5/2023 8:06 AM

                                     CAUSE NO. 2023-22748


GALLERIA 2425 OWNER LLC            §                                IN THE DISTRICT COURT
                                   §
                                   §
       Plaintiff,                  §




                                                                               k
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                                                                            ler
                                   §
v.                                §                                 HARRIS COUNTY, TEXAS




                                                                         tC
                                   §




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                                  §
NATIONAL BANK OF KUWAIT, S.A.K.P., §




                                                                  ist
NEW YORK BRANCH                   §




                                                               sD
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                                                            es
      Defendant.                  §                                 281st JUDICIAL DISTRICT



                                                         rg
              PLAINTIFF GALLERIA 2425 OWNER LLC’S    Bu
 SECOND AMENDED PETITION, EMERGENCY APPLICATION FOR TEMPORARY
                                                   n
              RESTRAINING ORDER AND JURY DEMAND
                                                ily
                                             ar


         Plaintiff Galleria 2425 Owner LLC (“Plaintiff”) files this Second Amended Petition
                                         M




against Defendant National Bank of Kuwait, S.A.K.P., New York Branch (“NBK” or
                                       of
                                    e




“Defendant”) and hereby states and alleges the following:
                                ffic




                                            I.
                             O




                                      DISCOVERY PLAN
                           y
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   1.       Discovery should be conducted pursuant to Level 2 of Rule 190.3 of the Texas Rules
                      C




of Civil Procedure.
                 ial
              fic




                                             II.
                                       RELIEF SOUGHT
           of
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   2.       Pursuant to Texas Rule of Civil Procedure 47(c), Plaintiff is presently seeking monetary

relief over $1,000,000. The damages sought are within the jurisdictional limits of the Court.




                                                                                           Page 1 of 9
         Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 88 of 102




                                                III.
                                              PARTIES

    3.      Plaintiff Galleria 2425 Owner LLC is a limited liability company doing business in

Texas and is the owner of the building located at 2425 West Loop S., Houston, Texas (the




                                                                                 k
                                                                              ler
“Building”).




                                                                           tC
    4.      Defendant National Bank of Kuwait, S.A.K.P., New York Branch is a banking




                                                                       ric
corporation organized under the laws of Kuwait, acting through its New York Branch. Defendant




                                                                    ist
                                                                 sD
has not designated a registered agent for service of process in the State of Texas. As such, pursuant




                                                             es
to Texas Civil Practice and Remedies Code §17.041-045, the Texas Secretary of State is



                                                          rg
Defendant’s agent for service of process in this proceeding, which arises out of business Defendant
                                                      Bu
has done in this state, and Defendant may be served through the Texas Secretary of State. The
                                                    n
                                                 ily

Secretary of State shall thereafter forward a copy by certified mail, return receipt requested, to
                                               ar
                                              M




Corporation Service Company, 299 Park Avenue, New York, New York 10171. Plaintiff requests
                                         of




that the clerk issue citation at this time.
                                      e
                                  ffic




                                               IV.
                                     JURISDICTION AND VENUE
                            y  O




    5.      The Court has jurisdiction over the parties and claims which are the subject of this suit.
                         op
                      C




    6.      Venue is mandatory in Harris County, Texas pursuant to Texas Civil Practice &
                  ial




Remedies Code § 15.020 because the agreement that forms the basis of this lawsuit constitutes a
               fic




“major transaction,” is in writing, and the parties thereto agreed that a suit arising from the
            of
          Un




agreement will be brought in Harris County, Texas. Venue is additionally proper in Harris County,

Texas pursuant to Texas Civil Practice & Remedies Code § 15.0115 because the Defendant

transacted business in and around Harris County, Texas; the real estate which forms the basis of




                                                                                          Page 2 of 9
        Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 89 of 102




the claims asserted by Plaintiff is located in Harris County, Texas; and the agreement which forms

the basis of this suit was executed and performable in Harris County, Texas.

                                                V.
                                              FACTS




                                                                                k
   7.        In 2018, Plaintiff and Defendant executed a loan agreement in which Defendant loaned




                                                                             ler
certain funds to Plaintiff. There is a dispute concerning the terms of the loans agreement, as well




                                                                          tC
as a dispute concerning the extent and validity of the Defendant’s alleged security interest in the




                                                                      ric
                                                                   ist
Building.




                                                                sD
   8.        A dispute arose between Plaintiff and Defendant in 2021 concerning the loan




                                                            es
agreement. In September 2021, Plaintiff initiated a lawsuit against Defendant.


                                                         rg
   9.                                                 Bu
             To settle claims and controversies existing between them, the parties entered into a
                                                   n
Confidential Settlement Agreement dated August 22, 2022 (the “Confidential Settlement
                                                ily
                                             ar


Agreement”). The Confidential Settlement Agreement includes express confidentiality
                                          M




obligations requiring the parties to keep the contents and terms of the agreement completely
                                       of
                                    e




confidential.
                                ffic




   10.       Pursuant to the Confidential Settlement Agreement, Plaintiff nonsuited its claims
                           y O




asserted in the lawsuit against Defendant on or around August 25, 2022.
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   11.       Upon information and belief, Defendant has improperly disclosed the terms of the
                  ial




Confidential Settlement Agreement to third parties in direct violation of its express confidentiality
                fic




obligations. Defendant provided information concerning the specific terms of the Confidential
           of
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Settlement Agreement to at least one potential counterparty that was actively negotiating with

Plaintiff in regard to financing related to the Building. The potential counterparty ended its

negotiations with Plaintiff once it learned the terms of the Confidential Settlement Agreement from

Defendant.

                                                                                         Page 3 of 9
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   12.     Plaintiff has been made aware that Defendant now intends to post the Building for the

May 2, 2023 foreclosure sale.

                                           VI.
                                    CAUSES OF ACTIONS




                                                                               k
              BREACH OF CONFIDENTIAL SETTLEMENT AGREEMENT




                                                                            ler
   13.     The allegations contained in the preceding and subsequent paragraphs are incorporated




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                                                                     ric
herein by reference for all purposes.




                                                                  ist
   14.     Plaintiff and Defendant reached a valid and enforceable agreement as expressly set




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forth in the unambiguous terms of the Confidential Settlement Agreement. Pursuant to such




                                                           es
Confidential Settlement Agreement, Defendant agreed to keep the contents and terms of the


                                                         rg
                                                     Bu
parties’ agreement completely confidential. Plaintiff dismissed its claims in the Lawsuit against
                                                  n
Defendant in reliance upon Defendant’s promise to uphold its confidentiality obligations set forth
                                               ily
                                            ar


in the Confidential Settlement Agreement.
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   15.     Defendant breached the Confidential Settlement Agreement by disclosing its contents
                                        of
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and terms to third parties in violation of the agreement’s express confidentiality provisions. As a
                                ffic




direct and proximate result of Defendant’s breach of the Confidential Settlement Agreement,
                          y O




Plaintiff has been damaged in an amount exceeding the minimum jurisdictional limits of this Court.
                       op




Plaintiff accordingly seeks recovery of all damages suffered due to Defendant’s breach of contract,
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                 ial




including, but not limited to, all direct and consequential damages incurred as a result of
              fic




Defendant’s conduct.
           of
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             COMPLIANCE CONCERNS WITH COURT ORDER/DIRECTIVES

   16.     In a prior hearing the court Ordered that the settlement payment, the subject of the

Confidential Settlement Agreement, would be paid by July 3, 2023. However, the parties did not

anticipate the early closure of the banks and the ability to wire funds. Plaintiff has become aware

                                                                                        Page 4 of 9
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that it is unable to wire funds after 11:30am, which was a surprise to the Plaintiff and not

anticipated.

    17.     Furthermore, the Court previously advised all parties, during a prior hearing, that the

settlement payment would be made, but the Plaintiff would still have the ability to prosecute any




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                                                                                ler
other claims, as it deems necessary. However, Defendant is requiring that Plaintiff execute a




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release, that would release all claims, including any claims from this suit, as a condition for




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Defendant to accept the settlement payment. Conditional release of claims was not a directive




                                                                      ist
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from this court, and was not part of any court order regarding the tender of the settlement payment.




                                                                es
    18.     Plaintiff is attempting to remit the settlement payment, but is unable to remit such



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payment as a result of the bank’s inability to process wire transfers today, and the Defendant
                                                         Bu
unwillingness to accept funds absent a release of claims, which was not ordered by this court.
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                                          UNJUST ENRICHMENT
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    19.     Plaintiff hereby incorporates paragraphs 1 through 18 herein as if set forth fully verbatim.
                                          of




Defendant, by way of posting the Property for a foreclosure sale, will be able to sale or obtain an
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ownership interest in the Property which would deprive Plaintiff of its Property and the equity therein. It
                               O




would be unconscionable for Defendant to be able to foreclose on Plaintiff’s Property after Plaintiff has
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invested its resources in preserving, maintaining, and upgrading the building. Plaintiff has also increased
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the number of tenants post-covid, and has recently paid $961,959.08 to the Defendant, $160,000.00 of
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which was paid in the last ninety days.
               fic




                                                VII.
            of




                                           ATTORNEYS’ FEES
          Un




    20.     Plaintiff has been required to employ counsel to represent its interests as a result of

Defendant’s breach of the Confidential Settlement Agreement. Plaintiff seeks all reasonable and

necessary attorneys’ fees, expenses, and costs of court pursuant to the terms of the Confidential

Settlement Agreement and applicable law, including, but not limited to, Section 38.001 of the
                                                                                              Page 5 of 9
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 92 of 102



Texas Civil Practice & Remedies Code.

                                           VIII.
                            PLAINTIFF’S INJURIES AND DAMAGES

   21.     The Plaintiff has and will continue to be damaged and injured by Defendant’s conduct

in as much as Plaintiff has had to incur attorney’s fees and costs to defend against the Defendant’s




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wrongful actions and will lose all equity in the Building if a foreclosure sale is completed.




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                                                  IX.




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                PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF




                                                                   ist
   22.     The Plaintiff requires injunctive relief to prevent the Defendant from improperly and




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wrongfully foreclosing on the Building.




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   23.     The Plaintiff has alleged a cause of action against the Defendant, and as indicated in


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this petition, the Plaintiff has shown a probable right of recovery and likelihood of success on the
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merits, the Plaintiff will suffer imminent, irreparable harm without Court intervention, and there
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is no adequate remedy at law.
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   24.     As a direct and proximate result of the Defendant’s wrongful actions as alleged in this
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petition, the Plaintiff has suffered and will continue to suffer imminent injury that will be
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irreparable and for which no remedy at law exists without the protections of a temporary
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restraining order and injunctive relief. There is no necessity for a bond to facilitate the injunctive
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relief requested.
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   25.     The only adequate, effective, and complete relief to the Plaintiff is to restrain the
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Defendant from further engaging in certain proscribed activities, as set forth below. Pursuant to
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Tex. R. Civ. P. 680 et seq. and Tex. Civ. Prac. & Rem. Code § 65.001 et seq., and in order to

preserve the status quo during the pendency of this action, the Plaintiff seek a temporary restraining

order, and on hearing, a temporary and permanent injunction, ordering and immediately restraining

the Defendant, including the Defendant’s agents, servants, employees, independent contractors,

                                                                                          Page 6 of 9
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 93 of 102



attorneys, representatives, and those persons or entities in active concert or participation with them

(collectively, the “Restrained Parties”) as follows:

            a) Enjoining the Defendant from foreclosing on the Building or otherwise denying

               access thereto.




                                                                                 k
                                                                              ler
            b) Mandating that the Defendant sale the Property at the July 5 2023 foreclosure sale.




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                                              X.




                                                                       ric
                                         JURY DEMAND




                                                                    ist
   26.      Plaintiff demands a jury trial and tenders the appropriate fee with this petition.




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                                                XI.




                                                             es
                                              PRAYER




                                                           rg
         WHEREFORE, Plaintiff Galleria 2425 Owner LLC respectfully requests that Defendant
                                                       Bu
National Bank of Kuwait, S.A.K.P., New York Branch be cited to appear and answer herein and
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upon final hearing hereof, Plaintiff be awarded its damages resulting from Defendant’s breach of
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contract, costs and fees, including reasonable and necessary attorneys’ fees, along with any other
                                        of




and further relief to which Plaintiff may be justly entitled at law or in equity.
                                     e
                                 ffic




                                                       Respectfully Submitted:
                             O




                                                       /s/ James Q. Pope
                           y




                                                       James Q. Pope
                        op




                                                       TBN: 24048738
                                                       The Pope Law firm
                     C




                                                       6161 Savoy Drive, Suite 1125
                  ial




                                                       Houston, Texas 77036
              fic




                                                       Ph: 713-449-4481
                                                       Fx: 281-657-9693
           of




                                                       jamesp@thepopelawfirm.com
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                                                                                          Page 7 of 9
      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 94 of 102




                                            JURAT

       My name is Alfred Kelly Williams, my date of birth is 09/22/1960. My office address is
2425 West Loop South, Houston, Texas 77027. I declare under penalty of perjury that the facts
and events set forth in the foregoing Amended Petition, Emergency Application for Temporary




                                                                              k
                                                                           ler
Restraining Order and Jury Demand are within my personal knowledge and are true and correct.




                                                                        tC
Executed in Harris County, State of Texas, on the 5th day of July 2023.




                                                                    ric
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                                                              sD
                                             _/s/ Alfred Kelly Williams




                                                          es
                                             Alfred Kelly Williams




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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 95 of 102




                                       Certificate of Service

    I hereby certify that interested parties registered to receive notice via the court’s electronic
noticing system was served the foregoing document on July 5, 2023.



                                                           /s/ James Q. Pope




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                                                           James Q. Pope




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certificate of service that complies with all applicable rules.

James Pope on behalf of James Pope
Bar No. 24048738
jamesp@thepopelawfirm.com




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Envelope ID: 77197292
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Filing Description: Second Amended Petition and Emergency Application
for Temporary Restraining Order




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Status as of 7/5/2023 9:01 AM CST




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Case Contacts




                                                               es
Name                BarNumber   Email                                TimestampSubmitted Status




                                                          rg
James Pope                      jamesp@thepopelawfirm.com            7/5/2023 8:06:49 AM   SENT

Robin Harrison                                        Bu
                                rharrison@hicks-thomas.com           7/5/2023 8:06:49 AM   SENT
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Charles Conrad                  charles.conrad@pillsburylaw.com      7/5/2023 8:06:49 AM   SENT
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Nancy Jones                     nancy.jones@pillsburylaw.com         7/5/2023 8:06:49 AM   SENT
                                              ar



Ryan Steinbrunner               ryan.steinbrunner@pillsburylaw.com 7/5/2023 8:06:49 AM     SENT
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Jackie Marlowe                  jmarlowe@hicks-thomas.com            7/5/2023 8:06:49 AM   SENT
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Angela McGinnis                 angela.mcginnis@pillsburylaw.com     7/5/2023 8:06:49 AM   SENT
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      Case 23-03263 Document 1-1 Filed in TXSB on 12/18/23 Page 97 of 102
                                                            MarilynBurgess-DistrictClerk
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                                                                                By:PATTON,JONATHANR
                                                                                Filed:7/5/20238:06:49AM
                                     CAUSE NO. 2023-22748


GALLERIA 2425 OWNER LLC            §                                 IN THE DISTRICT COURT
                                   §
       Plaintiff,                  §
                                   §




                                                                                k
v.                                §                                  HARRIS COUNTY, TEXAS




                                                                             ler
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                                                                          tC
NATIONAL BANK OF KUWAIT, S.A.K.P., §




                                                                      ric
NEW YORK BRANCH                   §
                                   §




                                                                   ist
      Defendant.                  §                                  281st JUDICIAL DISTRICT




                                                                sD
                                                             es
              ORDER GRANTING PLAINTIFF’S EMERGENCY APPLICATION



                                                          rg
                     FOR TEMPORARY RESTRAINING ORDER

                                                      Bu
        CAME ON FOR CONSIDERATION Plaintiff’s Emergency Application or Temporary
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Restraining Order and the court being apprised of the premises based upon the pleadings, exhibits,
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records, and documents filed by counsel and presented to the court, as well as the arguments of
                                       of




counsel at the hearing, the Court finds that unless Defendant is enjoined from posting Plaintiff’s
                                     e
                                ffic




building located at 2425 West Loop S., Houston, Texas 77027 for the July 2023 foreclosure sale,
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Plaintiff will suffer immediate and irreparable harm and lose access to both the Property and the
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equity in the building, and there is no other adequate remedy at law. The Court finds that there is
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a dispute between the parties and a possible violation of certain confidentiality obligations, as well
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as a dispute as to compliance with certain court orders and/or directives. Plaintiff was unable to
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resolve this matter prior to the hearing on Plaintiff’s Emergency Application for Temporary
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Restraining Order. The Court is of the opinion that the Application should be GRANTED.

Therefore, it is:




                                                                                          Page 1 of 3
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        ORDERED that National Bank of Kuwait, S.A.K.P., New York Branch its agents,

assigns or successors in interest shall not foreclose on the building located at 2425 West Loop S.,

Houston, Texas 77027 currently scheduled for the July 5, 2023 foreclosure sale, or any subsequent

foreclosure sale without further order of this court. It is further




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        ORDERED that National Bank of Kuwait, S.A.K.P., New York Branch its agents,




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assigns or successors in interest, shall not take any steps to cause the building located 2425 West




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Loop S., Houston, Texas 77027 to be sold at the July 2023, or any subsequent foreclosure sale,




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including but not limited to, having a receiver, or any other third party, appointed that would




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adversely affect Plaintiff’s interest in, or access to, the building, and shall not in any way interfere,



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or cause an interference, with Plaintiff’s quiet use and enjoyment of the building located at 2425
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West Loop S., Houston, Texas 77027, without further order of this court. It is further
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        ORDERED that National Bank of Kuwait, S.A.K.P., New York Branch its agents,
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assigns or successors in interest shall immediately cease any and all communications, verbal or
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written, that violate the Confidential Settlement Agreement dated August 22, 2022, shall not
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interfere with Plaintiff’s business, shall not communicate with Plaintiff’s tenants, customers or
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business partners or affiliates, shall not violate any terms of the Confidential Settlement Agreement
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dated August 22, 2022, shall keep the contents and terms of the Confidential Settlement Agreement
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dated August 22, 2022 completely confidential, and the parties shall attend mediation prior to the
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          of




Temporary Injunction hearing.
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    ORDERED that neither party shall serve any discovery on Plaintiff or any other person or

entity, including but not limited to any requests for production, interrogatories, deposition notices,

deposition or trial subpoenas, and depositions on written questions. It is further



                                                                                            Page 2 of 3
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   ORDERED that if the Property is sold at a foreclosure sale after entry of this Order, then the

foreclosure sale shall be rescinded within three (3) days of entry of this Order. It is further


   ORDERED that the terms of the settlement agreement entered into by the parties on or about

August 22, 2022, and the court’s prior order and directives extending the settlement payment date




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remain in effect, preserving the status quo and extending any deadlines or expiration dates therein,




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until the conclusion of the final temporary injunction hearing.




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       IT IS FURTHER ORDERED that bond shall be set in the amount of $




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and the Temporary Injunction hearing is set for the following date:




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at the following time:                     .
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Signed:
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